      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 1 of 128 PageID #:
                                           2018

Nicholas LaRocca

From:                            Nicholas LaRocca
Sent:
To:
Subject:                         RE: WHITNEY ACCOUNT FOR SWIFT           CLOSED BANK ACCOUNTS


       You already have all the bank accounts in

                for    forbearance agreement is      being       "',.""-,,'-,,.. and has not yet      signed.

-----Original Message----­
From: jward@wardandcondrey.com .gward@wardandcondrey.com>
      Wednesday,       26,2019   PM

                                                                      BANK

Nick,

I also need     amendment to      forbearance       settlement agreement with Summit.

I really don't understand                  current bank statements. The                            Swiftships and   Nett
should have         on

Joe

-----Original Message----­
From: Nicholas             <nlarocca@laroccalaw.com>
Sent: Monday, June 24, 19          PM
     j ward@wardandcondrey.com
              WHITNEY ACCOUNT FOR SWIFT -­                            BANK ACCOUNTS

At the time that is all we had. I will get the statements from


From: j ward@wardandcondrey.com .g ward@wardandcondrey.com>
     Monday,          2019 1:40 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
             WHITNEY ACCOUNT FOR SWIFT --               BANK ACCOUNTS



The last statement of have     Swiftshi ps is the December 31, 18 statement from
0361          I have no 2019 bank statements for anyone. Is this  only account for
payroll or otherwise? What about the             Bank account    was          to


From: Nicholas          <nlarocca@laroccalaw.com>
Sent: Monday, June 24, 2019 1:16 PM
                                                         1
   Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 2 of 128 PageID #:
                                               2019
   '(Joe) Joseph Ward Jr.' <Jward@wardandcondrey.com>
Subject: FW: WHITNEY               FOR         -- CLOSED BANK

Joe:      have the payroll account information already.      other accounts are "controlled disbursement
           set up by                     do not get     statements,     we do not even        access to
accounts.
Invoices of         are sent                       to the             and they are paid by      government           these
controlled disbursement accounts.

      Khurram
     Monday,
   Nicholas       <nlarocca@laroccalaw.com>
Subject:    WHITNEY                       -- CLOSED BANK ACCOUNTS

PNC is payroll account.    have                                              many accounts.
          banked        PNC ever


                  I 9572



From: Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com>>
Sent: Monday, June     19 9:02 PM
To: Khurram Shah
Subject: FW:                      FOR SWIFT CLOSED                                     ACCOUNTS

Can you                                       accounts                       and any         current

-----Original
       j ward@wardandcondrey.com<mailto:j ward@wardandcondrey.com>
<Jward@wardandcondrey .com<mail to:j ward@wardandcondrey.com»
Sent:          June 24, 1912:59PM
To:           LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com>>
          RE:           ACCOUNT         SWIFT -- CLOSED BANK ACCOUNTS

Nick,

I'm           for the all   nr"'''''''','T   accounts (operating, payroll and any other current account)     Swiftship entities.
I don't see those.




<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
      Monday,       24,2019 1   PM
To: '(Joe) Joseph Ward Jr.'
<Jward@wardandcondrey .com<mail to:j ward@wardandcondrey .com> >
                                                                      2
   Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 3 of 128 PageID #:
                                        2020
Subject:      WHITNEY                   FOR SWIFT -- CL;OSED                ACCOUNTS



                 Shah <kshah@sunraysint.com<mailto:kshah@sunraysint.com»
               June 23,2019   1 PM
              LaRocca

                leleux@swiftships.com<mailto:jleleux@swiftships.com»;
         Shah <sshah@swiftships.com<mailto:sshah@swiftships.com»
Subject: WHITNEY ACCOUNT           SWIFT --          BANK

Nick.
     were interested in provided only open accounts to Joe,            you are asking      more, here's
statements for WHITNEY BANK,               account is
Also enclosed is M&T account



President/CEO
[signature_1          14]




This e-mail     any file(s) attached to it may contain              and/or               information       is intended
exclusively    the designated                Any              this e-mail is prohibited. Suruays         not represent
or warrant    this                   is free of          viruses or other          and does not          liability for
any     or damage           by this emaiL If you have received                 In error,        notify the
immediately by        email message and          all copies and




                                                          3
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 4 of 128 PageID #:
                                          2021
     •
( Nicholas LaRocca

 From:                                    LaRocca
 Sent:                           Wednesday, June       2019 4:28 PM
 To:                            jward@wardandcondrey.com
 Subject:                        RE: Spurgeon v. Swift        LCC, et al



    Joe. Just forwarded you email to Khurram


 From: jward@wardandcondrey.com <jward@wardandcondrey.com>
 Sent: Wednesday, June 26, 193
     Nicholas         <nlarocca@laroccalaw.com>
 Subject:     Spurgeon v. Swift Group LCC, et al

 Nick,

                                        no                                 I     I have what I      on


 I have no recent checking info on             Please                      account
               IS   current account and it                           or payroll accounts.



 -----OriginaJ
 From: Nicholas          <nlarocca@laroccalaw.com>
 Sent: Wednesday,      26,20192:54 PM
 To:        Joseph Ward ' <jward@wardandcondrey.com>
 Subject: FW: Spurgeon v. Swift Group LCC, et al



 From: Nicholas LaRocca
      Wednesday, June 26, 2019       PM
    Maria G. Izaguirre <assistant@laroccalaw.com>
 Subject:    Spurgeon v. Swift Group        et al



 From:           Shah <kshah@sunraysint.com<mailto:kshah@sunraysint.com»
      Monday, June 24, 193      PM
 To: Nicholas LJall,""'_'-'"
 <nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com> >
         Leleux leleux@swiftships.com<mailto:j
         Fwd: Spurgeon v.      Group LCC, et al

 Nick. See the enclosed, this was already provided to         week. Compare       enclosed with the account
 number      sent -        1        Attached are the same. These are Swiftships operating    payroll account.
          Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 5 of 128 PageID #:
                                               2022
<   Khurram Shah
    Cell: +1 1 1




    CURRENT -                                                   accounts.
    What else?

    Kind Regards,
    Khurram Shah
    President/CEO
    [signature_530998089]

    Cell: 571-431-9572
    Fax: 703-356-1166

    This e-mail and any file(s) attached to it may                                          information and is intended
    exclusively for the designated recipient(s). Any                         is prohibited. Sunrays does not represent
    or warrant that this communication is                                   r1p.1~pf"t" and does not accept liability for
    any loss or damage caused by this email. If you have                                            notify the sender
    immediately by reply email message and delete


    From: Nicholas LaRocca
    <nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com>>
    Date: Wednesday, June 1 2019 at 3
    To: Khurram Shah
      leleux@swiftships.com<mailto:jleleux@swiftships.com»
    Subject: Fwd: Spurgeon v. Swift Group     et


          from my iPhone

          forwarded message:
          "jward@wardandcondrey.com<mailto:jward@wardandcondrey.com>"
    <jward@wardandcondrey.com<mailto :jward@wardandcondrey.com»
              1 2019 at 1:37:52 PM COT

    <nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
            FW: Spurgeon v. Swift Group LCC, et al Nick,

    Its      a week and no word. Please provide the requested               or I will      no                  to      a
               order       the defendants.



                                                           2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 6 of 128 PageID #:
                                             2023
~   From: jward@wardandcondrey .com<mailto:jward@wardandcondrey.com>
    <jward@wardandcondrey.com<mailto:jward@wardandcondrey.com»
    Sent: Thursday, June 6, 2019 3:19 PM
    To:




    Please provide the current bank statements for all judgment creditors
    That should be an easy     for your         Also, I need the current contracts we discussed.

    Thanks.



    Joseph R. Ward, Jr.
    Ward & Condrey
           New Hampshire
                 LA 70433
                (985) 871
          . jward@wardandcondrey.com<mailto:jward@wardandcondrey.com>




                                                           3
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 7 of 128 PageID #:
                                           2024

Nicholas LaRocca

From:                                jward@wardandcondrey.com
Sent:                                             June 2019 3:56 PM
To:                                   Nicholas LaRocca
                                      RE: WHITNEY ACCOUNT FOR SWIFT        CLOSED BANK ACCOUNTS



Nick,

I don't expect      to         for                but your           certainly     an              or at       know if
this was the




From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Wednesday, June 26, 193     PM
   jward@wardandcondrey.com
Subject:    WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

I have an unsigned copy of a          which I am attaching to this emaiL I do not vouch that this is the final doc
or some preliminary          since I am not involved in    contract negotiations, drafting or execution.


From: jward@wardandcondrey.com <j                                     .com>
Sent: Wednesday, June 26,20193:13 PM
    Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject:     WHITNEY              FOR SWIFT --                          BANK ACCOUNTS

Nick,

I received        letter from Summit's attorney                                   extension of   forbearance
             is a done       and that                            should have a

Joe


From: Nicholas LaRocca <nlarocca@laroccalaw.com>
      Wednesday, June   2019    1 PM
   j ward@wardandcondrey.com
Subject: RE: WHITNEY ACCOUNT                  -- CLOSED                          ACCOUNTS

Joe: You already         all     bank accounts       question.

                 for the forbearance              is still                          not

-----Original A.".......,'.. F.'"
       jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Wednesday, June 26, 2019    PM
                                                             1
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 8 of 128 PageID #:
                                               2025
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: FW: WHITNEY               FOR                   ACCOUNTS

Nick,

I also        the              to the forbearance and settlement              with

I really don't understand the                current      statements. The controllers for           and
should have those on their




              LaRocca <nlarocca@laroccalaw.com>
      Monday,    24,2019
To: jward@wardandcondrey.com
Subject:    WHITNEY ACCOUNT FOR                                     BANK ACCOUNTS

At the time         is all we had. I will   the statements from Jan-present


      j ward@wardandcondrey .com <:i
     Monday, June 24, 2019 1   PM
   Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE: WHITNEY ACCOUNT FOR                                    BANK

Nick,

The last statement of    for Swiftships is    December 31,2018 statement from PNC for account no.
0361-8759. I        no 19 bank statements              Is this the only account   Swiftships- ""''''''''"''
payroll or otherwise? What about     Investar Bank account that was supposed to be set

-----Original
From: Nicholas       <nlarocca@laroccalaw.com>
Sent: Monday, June  20191:16 PM
     '(Joe) Joseph Jr.' ward@wardandcondrey.com>
Subject: FW' WHITNEY                        -- CLOSED BANK ACCOUNTS

     you have     payroll account information already. Any other accounts are "controlled disbursement
accounts" set up by the government. We do not get      statements, and we do not even have access to
accounts.
Invoices of vendors are sent directly to the 'UH.·pm       they are paid by the government through
controlled               accounts.

From: Khurram Shah <kshah@sunraysint.com>
     Monday, June     20191:12 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Re: WHITNEY              FOR SWIFT -- CLOSED BANK ACCOUNTS

PNC is       account.          that already. We don't              many accounts.
We always banked with PNC ever since FNBC failed.
                                                           2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 9 of 128 PageID #:
                                           2026

           Shah
          571 431 9572



From: Nicholas
<nlarocca@laroccalaw.com<mailto:nlarocca@ laroccalaw .com> >
Sent: Monday, June 24, 199:02 PM
To: Kburram Shah
Subject: FW:           ACCOUNT FOR               CLOSED BANK

Can you      copies of the     accounts     operating, payroll and      other current            if

-----Original
       jward@wardandcondrey.com<mailto:jward@wardandcondrey.com>
<jward@wardandcondrey.com<mailto:jward@wardandcondrey.com>>
Sent: Monday,         24,2019 12:59 PM
To: Nicholas .wu""v'-,vu
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
Subject: RE: WHITNEY ACCOUNT FOR SWIFT -­

Nick,

I'm looking for    all present accounts (operating, payroll and any       current account) for Swiftship entities.
I don't see

Joe



<nlarocca@laroccalaw.com<mailto:nlarocca@Jaroccalaw.com»
      Monday, June      201912:42 PM
    '(Joe) Joseph Ward Jr.'
<jward@wardandcondrey.com<mailto:jward@wardandcondrey .com> >
Subject: FW: WHITNEY ACCOUNT            SWIFT -- C            ACCOUNTS



From: Kburram                 <kshah@sunraysint.com<mailto:kshah@sunraysint.com»
Sent:        , June , 2019 5:01 PM
To: Nicholas .wUJt'-\'''~''''u.
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
Cc:                   leleux@swiftships.com<mailto:j
Shehraze         <sshah@swiftships.com<mailto:sshah@swiftships.com»
Subject: WHITNEY ACCOUNT FOR SWIFT CLOSED BANK ACCOUNTS

Nick.
We were           in provided only open accounts to  but              you are asking for more,        bank
statements     WHITNEY BANK, but the account is closed.
      enclosed is     account    Swift.
                                                        3
   Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 10 of 128 PageID #:
                                        2027
Kind Regards,
Khurram Shah
President/CEO
[signature _1400267714]

Cell: 571-431-9572
     703-356-1166

This e-mail and any file(s) attached to it may
exclusively for the designated recipient(s). Any
or warrant that this communication is free
        or damage caused by this email. If you
             by reply email




                                                   4
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 11 of 128 PageID #:
                                           2028

Nicholas LaRocca

From:                                  Nicholas LaRocca
Sent:                                 Wednesday, June     20194:06 PM
To:                                   jward@wardandcondrey,com
Cc:                                    Khurram Shah (kshah@sunraysintcom); Jeff Leleux
Subject:                               RE: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS



To my knowledge the document has not               signed. I believe that what I sent you was                        current and maybe
          draft.     last communication           counsel for Summit was a discussion of who would                             for
Shipbuilders.       will      for Shipbuilders in       capacity as                of the .::>u...,...,...,.::>,.:>.
Whether or not Jeff       actually         the document is uncertain.              I will
client to determine           in fact there is a fully executed extension.

-----Original
       jward@wardandcondrey.com
      Wednesday,June      20193    PM
     Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject:      WHITNEY ACCOUNT FOR SWIFT -- C                                    BANK ACCOUNTS

Nick,

I don't expect you to vouch for the document                    your clients certainly      an executed copy or at least know if
this was     finaL

Joe


      Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Wednesday,     26,20193:26 PM
To: jward@wardandcondrey.com
        RE: WHITNEY ACCOUNT            SWIFT CLOSED BANK ACCOUNTS

I have an unsigned         a version which I am attaching to this emaiL I do not vouch that                          is the final
or some preliminary version       I am not involved in    contract               drafting or


From: jward@wardandcondrey.com <jward@wardandcondrey.com>
     Wednesday, June        93: 13 PM
   Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject:              ACCOUNT FOR SWIFT --                                               ACCOUNTS

Nick,

I received     letter from Summit's        Clttr,,.,..,'u   today.     seems to think    extension       the forbearance
agreement is a done       and that                              debtors should have a copy.

Joe


                                                                      1
   Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 12 of 128 PageID #:
                                        2029

From: Nicholas          <nlarocca@laroccalaw.com>
      Wednesday, June 26, 2019 2:51 PM
To: jward@wardandcondrey.com
Subject:   . WHITNEY ACCOUNT            SWIFT -- CLOSED                              ACCOUNTS

     You already               all the        accounts in

    extension                                agreement is still being negotiated and has not       been signed.


From: jward@wardandcondrey.com <:jward@wardandcondrey.com>
     Wednesday, June 26, 2019 2:26 PM
   Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: FW: WHITNEY ACCOUNT                                                         ACCOUNTS

Nick,

I also need     amendment to                forbearance      settlement agreement with Summit.

I really don't understand                           current bank statements.         controllers     Swiftships   ICS Nett
should        those on



-----Origi nal
From:           LaRocca <nlarocca@laroccalaw.com>
Sent:          June      192:39 PM
To: jward@wardandcondrey.com
         RE: WHITNEY               FOR                                     BANK

At the            is all we              I will       statements       Jan-present

-----Original
       j ward@wardandcondrey.com <:jward@wardandcondrey.com>
      Monday,         2019 1:40 PM
                     <nlarocca@laroccalaw.com>
              LJUJ,'-.V'.Vu.


              WHITNEY ACCOUNT           SWIFT            BANK ACCOUNTS



         statement of have    Swiftships is    December 31, 2018 statement from PNC
0361-8759. I have no 19 bank statements for anyone.       this the only account
payroll or             What about the Investar Bank account that was supposed to be set up?

-----Original Message----­
       Nicholas            <nlarocca@laroccalaw.com>
      Monday, June 24,       9 1: 16 PM
To: '(Joe)       Ward
Subject: FW: WHITNEY ACCOUNT                                                         ACCOUNTS

                                                                   2
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 13 of 128 PageID #:
                                                    2030
Joe: you have the payroll account infonnation already. Any other accounts are "controlled disbursement
accounts" set up by     government. We do not      any              and we do not even have access to these
accounts.
Invoices of vendors are sent directly to the           and they are paid by the government
controlled disbursement accounts.

From: KJmrram Shah
Sent: Monday, June 24, 20191:12 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject:                ACCOUNT FOR SWIFT --                     BANK

PNC is payroll account. You    that already. We don't have many accounts.
We always banked with PNC ever

Khurram Shah
Cell:  571 431



      Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
     Monday, June 24,2019     PM
             Shah
Subject: FW: WHITNEY              FOR

Can      get copies   the bank accounts for operating, payroll and any other current accounts, if any?


From: jward@wardandcondrey .com<mailto:jward@wardandcondrey.com>
<jward@wardandcondrey.com<mailto :jward@wardandcondrey.com»
Sent: Monday, June    2019 12:59
To: Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com>>
        RE: WHITNEY               FOR         -- CLOSED       ACCOUNTS

Nick,

I'm looking for the all present accounts (operating, payroll and any other current account)   Swiftship entities.
I don't see




From: Nicholas LaRocca
<nlarocca@laroccalaw.com<mai Ito: nlarocca@laroccalaw.com»
Sent: Monday, June 24,      9 12:42 PM
To: '(Joe) Joseph Ward Jr.'
<jward@wardandcondrey.com<mailto :jward@wardandcondrey.com»
Subject: FW:               ACCOUNT FOR            CLOSED BANK ACCOUNTS


                                                        3
   Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 14 of 128 PageID #:
                                        2031

From: Khurram Shah <kshah@sunraysint.com<mailto:kshah@sunraysint.com»
Sent: Sunday, June   20195:01
To: Nicholas LaRocca
<nlarocca@laroccalaw
Cc:      Leleux
Shehraze Shah <sshah@swiftships.com<mailto:sshah@swiftships.com»
Subject: WHITNEY ACCOUNT FOR              -- CLOSED BANK

Nick.
We were interested in provided only open accounts to but            you are asking     more, here's
              WHITNEY BANK, but the account is closed.
              IS       account    Swift.

Kind
Khurram Shah
President/CEO
[signature 140026771

Cell: 571   1
Fax: 703-356-1166

                                             contain confidential and/or privileged information and is intended
                                           Any       use this e-mail is prohibited.           does not
or warrant that this communication is     of computer         or                   does not accept liability
any loss or damage caused by this email. If you have received      message in error,             the sender
immediately by reply email           and delete all       and attachment




                                                       4
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 15 of 128 PageID #:
                                          2032
Maria G. Izaguirre

From:                          Nicholas LaRocca
Sent:                          Wednesday, June 26, 20192:44 PM
To:                            Maria G. Izaguirre
Subject:                       FW: Spurgeon v. Swift Group LCC, et al
Attachments:                   SKMBT_C36019061317350[lJpdf




From: Khurram Shah <kshah@sunraysint .com>
Sent: Monday, June 24, 2019 3:53 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: Jeff leleux <jleleux@swiftships.com>
Subject: Fwd : Spurgeon v. Swift Group lCC, et al

Nick. See the enclosed, this was already provided to you last week. Compare the enclosed with the account number you
sent - 53-0361-8759. Attached are the same. These are Swiftships operating and payroll account.

Khurram Shah
Cell : +1 571431 9572




From: Khurram Shah <kshah@sunraysint.com>
Sent: Friday, June 14, 2019 1:35 AM
To: Nicholas LaRocca; Jeff Leleux
Subject: Re: Spurgeon v. Swift Group lCC, et al

CURRENT - PNC Bank Statements for both ICS and Swift accounts.
What else?

Kind Regards,

Khurram Shah
President/CEO




Cell : 571-431-9572
Fax: 703-356-1166

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free of computer viruses or other defects and does not accept liability for any loss or damage caused by this email. If you have received
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From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Date: Wednesday, June 12, 2019 at 3:35 PM
   Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 16 of 128 PageID #:
                                        2033
To: Khurram Shah
Subject: Fwd: Spu




Sent from my iPhone

     forwarded message:




       To: Nicholas LaRocca
       Subject: FW: Spurgeon v. Swift Group lCC, et al


       Nick,

       Its been a         and no word. Please provide the requested documents or I will
       have no a      rnative    to seek a       pt order    inst the defendants.

       Joe


       From:~~~,~~==~~~~= ~==~~~~~~~"~
       Sent:
       To: ~~~~~~=~~
       Subject: Spurgeon v. Swift Group LCC, et al


       Nick,

       Please provide the cu             bank               for all         rs asap. Th
       should    an easy              r your clients. Also, I need               we
       discu

       Thanks.

       Joe

       Joseph       Wa Jr.
       Ward         rey
       438 S. New Hampshire
       Covington, LA 70433
       Telephone: (985)
       Email:   ~~~~~~~~~~~~




                                                         2
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 17 of 128 PageID #:
                                         2034
Maria G. Izaguirre

From:                      Nicholas LaRocca
Sent:                      Wed nesday, June 26, 20192:44 PM
To:                        M aria G. Izagui rre
Subject:                   FW: Spurgeon




-----Origina I Message----­
From : Nicholas LaRocca
Sent: Monday, June 24, 2019 3:23 PM
To : jward@wardandcondrey.com
Subject: RE: Spurgeon

Ok. We will contact the Government and see if we can get the statements.

-----Original Message----­
From : jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Monday, June 24, 2019 3:06 PM
To : Nicholas LaRocca <nlarocca@laroccalaw .com>
Subject: RE: Spurgeon

I need every account that holds funds for any judgment debtor. I intend to issue garnishments on all accounts that are
active.

-----Original Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw .com>
Sent : Monday, June 24, 2019 2:36 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

Joe : I can try to secure the controlled disbursement accounts . Do you want them?
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 18 of 128 PageID #:
                                             2035
Maria G. Izaguirre

From:                      Nicholas LaRocca
Sent:                      Wednesday. June 26, 2019 2:44 PM
To:                        Maria G. Izaguirre
Subject:                   FW: Spurgeon




-----Original Message----­
From : jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Monday, June 24, 2019 3:06 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject : RE: Spurgeon

I need every account that holds funds for any judgment debtor. I intend to issue garnishments on all accounts that are
active.

-----Original Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 24, 2019 2:36 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

Joe: I can try to secure the controlled disbursement accounts. Do you want them?
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 19 of 128 PageID #:
                                             2036
Maria G. Izaguirre

From:                      Nicholas LaRocca
Sent:                      Wednesday. June 26. 2019 2:44 PM
To:                        Maria G. Izaguirre
Subject:                   FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From: Khurram Shah <kshah@sunraysint.com>
Sent: Monday, June 24, 2019 3:09 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Re: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Let me check. I gave you what

Khurram Shah
Cell: +1571431 9572




From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 24, 2019 10:32 PM
To: Khurram Shah
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Apparently, he still needs the Swiftships account at PNC for account number 53-0361-8759 January, 2019 through the
latest.

-----Original Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Monday, June 24, 2019 1:40 PM
To : Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE : WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick,

The last statement of have for Swiftships is the December 31,2018 statement from PNC for account no. 53-0361-8759. I
have no 2019 bank statements for anyone. Is this the only account for Swiftships- corporate, payroll or otherwise? What
about the Investar Bank account that was supposed to be set up?

-----Originai Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent : Monday, June 24, 2019 1:16 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Joe: you have the payroll account information already. Any other accounts are "controlled disbursement accounts" set
up by the government. We do not get any statements, and we do not even have access to these accounts.
Invoices of vendors are sent directly to the government and they are paid by the government through these controlled
disbursement accounts.
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 20 of 128 PageID #:
                                           2037
From: Khurram Shah
Sent: Monday, June
To: Nicholas LaRocca
        Re: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

PNC is payroll account. You have that          We don't have many accounts.
We always banked with PNC ever since FNBC failed.

Khurram Shah
Cell: +1 571431 9572




From: Nicholas LaRocca

Sent: Monday, June
To: Khurram Shah
        FW: WHITNEY ACCOUNT FOR SWIFT            CLOSED BANK ACCOUNTS


Can you get copies of the bank accounts for operating, payroll and any other current              if any?




To: Nicholas LaRocca


Subject: RE: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick,


I'm looking for the all present accounts (operating, payroll and any other current account) for Swiftship entities. I don't
see those.


Joe



From: Nicholas LaRocca


Sent: Monday, June
To: '(Joe) Joseph Ward Jr.'

         FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From: Khurram Shah
Sent: Sunday, June      2019 5:01 PM
To: Nicholas LaRocca




                                                              2
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 21 of 128 PageID #:
                                         2038
Subject: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick,
We were interested in         only open accounts to          but since you are asking for more, here's bank statements
for WHiTNEY        but the account is closed.
Also         is M&T account for Swift.

Kind
Khurram Shah




Cell: 571-431-9572
Fax: 703-356-1166

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email message and delete all copies and attachment




                                                              3
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 22 of 128 PageID #:
                                          2039
Maria G. Izaguirre

From:                      Nicholas LaRocca
Sent:                      Wednesday, June 26, 20192:44 PM
To:                        Maria G. Izaguirre
Subject:                   FW: Spurgeon




-----0 rigi na I M essage----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Monday, June 24, 2019 3:06 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE : Spurgeon

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-----0 rigi na I M essage----­
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Sent: Monday, June 24, 2019 2:36 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

Joe: I can try to secure the controlled disbursement accounts. Do you want them?




                                                             1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 23 of 128 PageID #:
                                             2040
Maria G. Izaguirre

From:                           Nicholas LaRocca
Sent:                           Wednesday, June 26, 2019 2:44 PM
To:                             Maria G. izaguirre
Subject:                        FW: WHITNEY ACCOUNT FOR SWIFT - - CLOSED BANK ACCOUNTS




-----Original Message----­
From: Nicholas LaRocca
Sent: Monday, June 24, 2019 2:39 PM
To : jward@wardandcondrey.com
Subject: RE: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

At the time that is all we had. I will get the statements from Jan-present asap.

-----Original Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey .com>
Sent: Monday, June 24, 2019 1:40 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE : WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick,

The last statement of have for Swiftships is the December 31,2018 statement from PNC for account no. 53-0361-8759.
I have no 2019 bank statements for anyone. Is this the only account for Swiftships- corporate, payroll or otherwise?
What about the Investar Bank account that was supposed to be set up?

-----0 rigina I M essage----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 24, 2019 1:16 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Joe : you have the payroll account information already. Any other accounts are "controlled disbursement accounts" set
up by the government. We do not get any statements, and we do not even have access to these accounts.
Invoices of vendors are sent directly to the government and they are paid by the government through these controlled
disbursement accounts .

From: Khurram Shah <kshah@sunraysint.com>
Sent: Monday, June 24, 2019 1:12 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Re: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

PNC is payroll account. You have that already. We don't have many accounts.
We always banked with PNC ever since FNBC failed.

Khurram Shah
Cell : +1 571431 9572
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 24 of 128 PageID #:
                                           2041
From: Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
Sent: Monday, June 24,   9:02 PM
To: Khurram Shah
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Can you get copies of the bank accounts for            payroll and any other current accounts, if any?

             Message----­
From: jward@wardandcondrey.com<mailto:jward@wardandcondrey.com>
<jward@wardandcondrey.com<mailto:jward@wardandcondrey.com»
Sent: Monday, June        2019 12:59 PM
To: Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca        law.com»
Subject: RE: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick,

11m looking for the all      accounts (operating, payroll and any other current           for Swiftship entities. I don't
see those.

Joe



From: Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
Sent: Monday} June 24} 2019 12:42 PM
To: '(Joe) Joseph Ward Jr.'
<jward@wardandcondrey.com<mailto:jward@wardandcondrey.com»
          FW: WHITNEY ACCOUNT FOR SWIFT CLOSED BANK ACCOUNTS




From: Khurram Shah <kshah@sunraysint.com<mailto:kshah@sunraysint.com»
Sent:          June     20195:01 PM
To: Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
Cc: Jeff Leleux <jleleux@swiftships.com<mailto:jleleux@swiftships.com»;
Shehraze Shah <sshah@swiftships.com<mailto:sshah@swiftships.com»
          WHITNEY ACCOUI\lT FOR SWIFT CLOSED BANK ACCOUNTS

Nick.
We were interested in provided only open accounts to       but since you are        for more, here's bank statements
for WHITNEY BAN K, but the account is closed.
Also enclosed is M&T account for Swift.

Kind
Khurram Shah
President/CEO




                                                           2
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 25 of 128 PageID #:
                                         2042
Cell: 571-431-9572
Fax: 703-356-1166

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                                                               3
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 26 of 128 PageID #:
                                         2043
Maria G. Izaguirre

From:                    Nicholas LaRocca
Sent:                    Wednesday, June 26, 2019 2:44 PM
To:                      M aria G. Izaguirre
SUbject:                 FW: Spurgeon




From: Nicholas LaRocca
Sent: Monday, June 24,20192 :36 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

Joe: I can try to secure the controlled disbursement accounts . Do you want them?
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 27 of 128 PageID #:
                                             2044
Maria G.lzaguirre

From:                      Nicholas LaRocca
Sent:                      Wednesday, June 26, 2019 2:44 PM
To:                        Maria G. Izaguirre
Subject:                   FW: WHITNEY ACCOUNT FOR SWIFT -­ CLOSED BANK ACCOUNTS




-----Original Message----­
From : Nicholas LaRocca
Sent: Monday, June 24, 2019 2:32 PM
To: Khurram Shah (kshah@sunraysint.com) <kshah@sunraysint.com>
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Apparently, he still needs the Swiftships account at PNC for account number 53-0361-8759 January, 2019 through the
latest .

-----Origina I Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Monday, June 24, 2019 1:40 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE: WHITNEY ACCOUI\JT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick,

The last statement of have for Swiftships is the December 31,2018 statement from PNC for account no. 53-0361-8759.
I have no 2019 bank statements for anyone . Is this the only account for Swiftships- corporate, payroll or otherwise?
What about the Investar Bank account that was supposed to be set up?

-----Origi na I M essage----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 24, 2019 1:16 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

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up by the government. We do not get any statements, and we do not even have access to these accounts.
Invoices of vendors are sent directly to the government and they are paid by the government through these controlled
disbursement accounts.

From: Khurram Shah <kshah@sunraysint.com>
Sent: Monday, June 24, 2019 1:12 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Re: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

PNC is payroll account. You have that already. We don't have many accounts.
We always banked with PNC ever since FNBC failed.

Khurram Shah
Cell: +15714319572
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 28 of 128 PageID #:
                                           2045

From: Nicholas La Rocca
<nlarocca@laroccalaw.com<mallto:nlarocca@laroccalaw.com»
Sent:         June      20199:02 PM
To: Khurram Shah
        FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Can you     copies of the bank accounts for operating, payroll and any other current          if

            M essage----­
From: jward@wardandcondrey.com<mailto:jward@wardandcondrey.com>
<jward@wardandcondrey.com<mailto:jward@wardandcondrey.com»
Sent: Monday, June        2019 12:59 PM
To: Nicholas LaRocca
              roccalaw.com<mailto:nlarocca@laroccalaw.com»
Su      RE: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick,

I'm         for the all      accounts (operating, payroll and any other current          for Swiftship entities. I don't
see

Joe



From: Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
Sent: Monday, June 24, 2019 12:42 PM



          FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From: Khurram Shah <kshah@sunraysint.com<mailto:kshah@sunraysint.com»
Sent: Sunday, June 23, 2019 5:01 PM
To: Nicholas LaRocca



Shehraze Shah
        WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick.
We were interested in          only open accounts to       but since you are       for more, here's bank statements
for WHITNEY BANK, but the account is closed.
Also enclosed is M&T account for Swift.

Kind
Khurram Shah

[signature_1400267714]

                                                           2
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 29 of 128 PageID #:
                                         2046
Cell: 571-431-9572
Fax: 703-356-1166

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email message and delete all            and attachment




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     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 30 of 128 PageID #:
                                          2047
Maria G. Izaguirre

From:                      Nicholas LaRocca
Sent:                      Wednesday, June 26, 20192:44 PM
To:                        Maria G. Izaguirre
Subject:                   FW WHITNEY ACCOUNT FOR SWIFT - - CLOSED BANK ACCOUNTS




-----Original Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Monday, June 24, 2019 1:40 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

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-----Original Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 24, 2019 1:16 PM
To : '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Joe: you have the payroll account information already. Any other accounts are "controlled disbursement accounts" set
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From: Khurram Shah <kshah@sunraysint.com>
Sent: Monday, June 24, 2019 1:12 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Re: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

PNC is payroll account. You have that already. We don't have many accounts .
We always banked with PNC ever since FNBC failed.

Khurram Shah
Cell: +1 571 431 9572




From: Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
Sent: Monday, June 24, 20199 :02 PM
To: Khurram Shah
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Can you get copies of the bank accounts for operating, payroll and any other current accounts, if any?

                                                             1
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 31 of 128 PageID #:
                                           2048

From:
<jward@wardandcondrey.com<mailto:jward@wardandcondrey.com»
Sent: Monday, June 24, 2019 12:59 PM
To: Nicholas LaRocca
                                     rocca@laroccalaw.com»
        RE: WHITNEY ACCOLINT FOR SWIFT CLOSED BANK ACCOLINTS




I'm            the all present accounts              payroll and any other current account) for Swiftship entities. I don't
see those.

Joe

            Message----­
From: Nicholas LaRocca
                  law.com<mailto:nlarocca@laroccalaw.com»
Sent: Monday, June 24, 2019 12:42 PM
To:             Ward Jr.'
<jward@wardandcondrey.com<mailto:jward@wardandcondrey.com»
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From: Khurram Shah <kshah@sunraysint.com<mailto:kshah@sunraysint.com»
Sent: Sunday, June 23, 2019 5:01 PM
To: Nicholas LaRocca
<nlarocca@laroccalaw.com<mailto:nlarocca@laroccalaw.com»
Cc:     Leleux <jleleux@swiftships.com<mailto:jleleux@swiftships.com»;
          Shah <sshah@swiftships.com<mailto:sshah@swiftships.com»
         WHITNEY ACCOUNT FOR SWIFT CLOSED BANK ACCOUNTS

Nick.
We were interested in provided only open accounts to Joe, but since you are asking for more, here's bank statements
for WHITNEY BANK, but the account is
Also         is M&T account for Swift.

Kind
Khurram Shah




Cell: 571-431-9572
Fax: 703-356-1166

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          for the designated recipientls). Any other use of this e-mail is prohibited. Sunrays does not              or
warrant      this communication is free of computer viruses or other            and does not        liability for any loss or
        caused by this email. If you have received this message in error,         notify the sender                by reply
email message and delete all         and attachment

                                                              2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 32 of 128 PageID #:
                                           2049
Maria G. Izaguirre

From:                         Nichola s LaRocca
Sent:                         Wednesday, June 26, 2019 2:44 PM
To:                           Maria G. Izaguirre
Subject:                      FW WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From: Nicholas LaRocca
Sent: Monday, June 24, 2019 1:16 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS


Joe: YOll have the payroll account information already. Any other accounts are " controlled disbursement
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To: Nicholas LaRocca <nlarocca@laroccalaw.com >
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Khurram Shah
Cell: +15714319572




From: Nicholas LaRocca <nlarocca@laroccalaw .com >
Sent: Monday, June 24, 20199:02 PM
To: Khurram Shah
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

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Joe
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 33 of 128 PageID #:
                                         2050

From: Nicholas LaRocca
Sent: Monday, June 24,201912:42 PM
To: '(Joe)       Ward Jr.'
          FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




                                           Shehraze Shah
                                            CLOSED BANK ACCOUNTS

Nick.
We were            in provided only open accounts to Joe, but since you are             for more,        bank statements
for WHITNEY BANK, but the account is
Also         IS M& T account for




[signature _14002677141

Cell: 571-431-9572
Fax: 703-356-1166

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email message and delete all          and attachment




                                                              2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 34 of 128 PageID #:
                                           2051
Maria G. Izaguirre

From:                         Nicholas LaRocca
Sent:                         Wednesday, June 26, 20192:44 PM
To:                           Maria G. lzagu irre
Subject:                      FW WHITNE Y ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From: Khurram Shah <kshah@sunraysint.com>
Sent: Monday, June 24, 2019 1:12 PM
To: Nicholas LaRocca <niarocca@laroccalaw.com >
Subject: Re: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

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FNBC fa iled.

Khurram Shah
Cell : +1 571431 9572




From: Nicholas LaRocca <nlarocca@laroccalaw .com >
Sent: Monday, June 24, 2019 9:02 PM
To: Khurram Shah
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

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Subject: RE : WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

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Joe

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Sent: Monday, June 24, 2019 12:42 PM
To : '(Joe) Joseph Ward Jr.' <jward@wardandcondrey .com>
Subject : FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From: Khurram Shah <kshah@sunraysint.com>
Sent: Sunday, June 23, 20195:01 PM
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 35 of 128 PageID #:
                                         2052
To: Nicholas LaRocca
Cc: Jeff Leleux                    Shehraze Shah
Subject: WHITNEY ACCOUNT FOR SWIFT CLOSED BAI\JK ACCOUNTS

Nick.
We were interested in provided only open accounts to           but since you are asking for more,           bank statements
for WHITNEY BANK, but the account is closed.
Also enclosed is M&T account for Swift.

Kind
Khurram Shah
President/CEO
[signature_1400267714]

Cell: 571-431-9572
Fax: 703-356-1166

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        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 36 of 128 PageID #:
                                             2053
Maria G. Izaguirre

From:                       Nicholas LaRocca
Sent:                       Wednesday, June 26, 20192:43 PM
To:                         Maria G. Izaguirre
Subject:                    FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




-----Original Message----­
From: Nicholas LaRocca
Sent: Monday, June 24, 2019 1:03 PM
To: Khurram Shah (kshah@sunraysint.com) <kshah@sunraysint.com>
Subject : FW : WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Can you get copies of the bank accounts for operating, payroll and any other current accounts, if any?

-----Original Message----­
From : jward@wardandcondrey .com <jward@wardandcondrey.com>
Sent: Monday, June 24, 2019 12:59 PM
To : Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick,

I'm looking for the all present accounts (operating, payroll and any other current account) for Swiftship entities . I don't
see those.

Joe

-----Original Message----­
From : Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 24, 2019 12:42 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From : Khurram Shah <kshah@sunraysint.com>
Sent: Sunday, June 23, 2019 5:01 PM
To : Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: Jeff Leleux <jleleux@swiftships.com>; Shehraze Shah <sshah@swiftships.com>
Subject: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick.
We were interested in provided only open accounts to Joe, but since you are asking for more, here's bank statements
for WHITNEY BANK, but the account is closed.
Also enclosed is M&T account for Swift.

Kind Regards,
Khurram Shah
President/CEO
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 37 of 128 PageID #:
                                         2054
[signature_1400267714]

Cell: 571-431-9572
Fax: 703-356-1166

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warrant that this communication is free of computer viruses or other defects and does not            liability for any loss or
         caused by this email. If you have received this message in error, please notify the sender immediately by reply
email message and delete all          and attachment




                                                              2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 38 of 128 PageID #:
                                             2055
Maria G. Izaguirre

From:                         Nicholas LaRocca
Sent:                         Wednesday, June 26,20192:43 PM
To:                           Maria G. Izaguirre
Subject:                      FW WHITNEY ACCOUNT FOR SWIFT -­ CLOSED BANK ACCOUNTS




-----Origina I Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Monday, June 24, 2019 12:59 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick,

I'm looking for the all present accounts (operating, payroll and any other current account) for Swiftship entities. I don't
see those .

Joe

-----0 riginal Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 24, 2019 12:42 PM
To : '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From: Khurram Shah <kshah@sunraysint.com>
Sent; Sunday, June 23, 2019 5:01 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: Jeff Leleux <jleleux@swiftships .com>; Shehraze Shah <sshah@swiftships.com>
Subject: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS

Nick.
We were interested in provided only open accounts to Joe, but since you are asking for more, here's bank statements
for WHITNEY BANK, but the account is closed.
Also enclosed is M&T account for Swift.

Kind Regards,
Khurram Shah
President/CEO
[signature_1400267714]

Cell: 571-431-9572
Fax : 703-356-1166

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   Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 39 of 128 PageID #:
                                        2056
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                                                           2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 40 of 128 PageID #:
                                             2057
Maria G. Izaguirre

From:                       Nicholas LaRocca
Sent:                       Wednesday, June 26, 2019 2:43 PM
To:                         Maria G. Izaguirre
Subject:                    FW: Spurgeon
Attachments:                Fixed Assets Schedule _SS_Ql FYl9.xlsx; Swiftships Tangible Assets_2019.xlsx




From: Nicholas LaRocca
Sent: Monday, June 24, 2019 12:42 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

Joe:

          I thought you may be interested in these financials too.




                                                                    1
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 41 of 128 PageID #:
                                          2058
Maria G. Izaguirre

From:                          Nicholas LaRocca
Sent:                          Wednesday, June 26, 2019243 PM
To:                            Maria G. Izaguirre
Subject:                       FW WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS
Attachments:                   2017 - Whitney Bank - Swihships LLC - Account#1l0083428 - Operating.pdf; 2017 - Whitney Bank - Swihships LLC -
                               Account#1l0083439 - Payroll.pdf; 2018 - Whitney Bank - Swihships LLC - Account#1l0083428 - Operating.pdf; 2018
                               - Whitney Bank - Swihships LLC - Account#1l0083439 - Payroll.pdf; 201S - M & T Bank - SWihships LLC - Account#
                               9856160461 - Operating - upto June 2015 pdf; 2015 - M & T Bank - Swihships LLC - Account# 9864092177 -
                               Operating .pdf; 2016 - M & T Bank - Swihships LLC - Account# 9864092177 - Operating - upto July 2016.pdf




From: Nicholas LaRocca
Sent: Monday, June 24, 2019 12:42 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS




From: Khurram Shah <kshah@sunraysint.com>
Sent: Sunday, June 23, 2019 5:01 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: Jeff Leleux <jleleux@swiftships.com>; Shehraze Shah <sshah@swiftships.com>
Subject: WHITNEY ACCOUNT FOR SWIFT -- CLOSED BANK ACCOUNTS


Nick.
We were interested in provided only open accounts to Joe, but since you are asking for more, here's bank statements
for WHITNEY BANK, but the account is closed.
Also enclosed is M&T account for Swift.

Kind Regards,

Khurram Shah
President/CEO


         5u nrO ~ 5



Cell: 571-431-9572
Fax: 703-356-1166

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                                          2059
Maria G. Izaguirre

From:                          Nicholas LaRocca
Sent:                          Wednesday, June 26, 2019 2:42 PM
To:                            Maria G. Izaguirre
Subject:                       FW ICS Bank Accounts - CLOSED 2/2
Attachments:                   FY2017.ICS Nett. Whitney-8168[31.pdf; FY2018. ICS Nett. Whitney-8168[31.pdf




From: Nicholas LaRocca
Sent: Monday, June 24, 2019 12:41 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: ICS Bank Accounts - CLOSED 2/2




From: Khurram Shah <kshah@sunraysint.com>
Sent: Sunday, June 23, 2019 5:10 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: Jeff Leleux <jleleux@swiftships.com>; Shehraze Shah <sshah@ics-nett.com>
Subject: ICS Bank Accounts - CLOSED 2/2


Email- 2/2

Nick,
Here is an ICS accounts this is CLOSED NOW

         1.    WHITI\lEY

Kind Regards,

Khurram Shah
President/CEO




Cell: 571-431-9572
Fax: 703-356-1166

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     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 43 of 128 PageID #:
                                          2060
Maria G.lzaguirre

From:                          Nicholas LaRocca
Sent:                          Wednesday, June 26, 2019 2:42 PM
To:                            Maria G. Izaguirre
Subject:                       FW ICS Bank Accounts - CLOSED 1/2
Attach men ts:                 Archive 2.zip




From: Nicholas LaRocca
Sent: Monday, June 24, 2019 12:40 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: ICS Bank Accounts - CLOSED 1/2




From: Khurram Shah <kshah@sunraysint.com>
Sent: Sunday, June 23, 2019 5:12 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: Shehraze Shah <sshah@ics-nett.com>; Jeff Leleux <jleleux@swiftships.com>
Subject: ICS Bank Accounts - CLOSED 1/2


Email 1/2

Nick,
Here is an ICS's accounts that is CLOSED NOW

     1.   M&T

Kind Regards,

Khurram Shah
President/CEO


          su nr O ~5



Cell: 571-431-9572
Fax : 703-356-1166

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                                                                    1
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 44 of 128 PageID #:
                                          2061
Maria G. Izaguirre

From:                          Nicholas LaRocca
Sent:                          Wednesday, June 26,20192:40 PM
To:                            Maria G. Izaguirre
Subject:                       FW: Contract for Bahrain
Attachments:                   FOB_BDF_Swiftships 35m FPV Contract_Navy2007 _Signed.pdf




From: Nicholas LaRocca
Sent: Monday, June 24, 2019 12:38 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: Contract for Bahrain




From: Khurram Shah <kshah@sunraysint.com>
Sent: Monday, June 24, 2019 11:19 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: Jeff Leleux <jleleux@swiftships .com>
Subject: Contract for Bahrain


Signed contract for Bahrain - this concludes all contract.

Kind Regards,

Khurram Shah
President/CEO




Cell: 571-431-9572
Fax: 703-356-1166

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      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 45 of 128 PageID #:
                                           2062
Maria G. Izaguirre

From:                          Nicholas LaRocca
Sent:                          Wednesday, June 26, 2019 240 PM
To:                            Maria G. Izaguirre
Subject:                       FW: Personnel Bank Statements - Shehraze Shah
Attachments:                   05-31-2019.pdf; 01 -31-2019.pdf; 02-28-2019.pdf; 03 -29-2019.pdf; 04-30-2019 .pdf




From: Nicholas LaRocca
Sent: Monday, June 24, 2019 12:38 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: Personnel Bank Statements - Shehraze Shah




From: Khurram Shah <kshah@sunraysint.com>
Sent: Monday, June 24, 20197:53 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: Shehraze Shah <sshah@ics-nett.com>
Subject: Personnel Bank Statements - Shehraze Shah

Nick - see Shehraze's personnel statements from this year. This is the only account he has .

Kind Regards,

Khurram Shah
President/CEO




Cell : 571-431-9572
Fax: 703-356-1166

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     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 46 of 128 PageID #:
                                          2063
Maria G. Izaguirre

From:                          Nicholas LaRocca
Sent:                          Wednesday, June 26, 2019 239 PM
To:                            Maria G. Izaguirre
Subject:                       FW: Personnel Bank Statements - Shehraze Shah
Attachments:                   OS-31 -2019.pdf; 01-31-2019.pdf; 02-28 -2019.pdf; 03-29-2019.pdf; 04-30-2019.pdf




From: Nicholas LaRocca
Sent: Monday, June 24, 2019 7:54 AM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: Personnel Bank Statements - Shehraze Shah




From: Khurram Shah <kshah@sunraysint.com>
Sent: Monday, June 24, 2019 7:53 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: Shehraze Shah <sshah@ics-nett.com>
Subject: Personnel Bank Statements - Shehraze Shah

Nick - see Shehraze's personnel statements from this year. This is the only account he has.

Kind Regards,

Khurram Shah
President/CEO


         su nrO ~5



Cell: 571-431-9572
Fax: 703-356-1166

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                                             2064
Maria G. Izaguirre

From:                        Nicholas LaRocca
Sent:                        Wednesday, June 26, 20192:39 PM
To:                          Maria G. Izaguirre
Subject:                     FW: Caivin's testimony




From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Friday, June 21, 2019 1:02 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE: Calvin's testimony


Guess that's why we have a judge.

I think we have a way out for everyone presuming Swiftships intends to payoff Summit by July
31. Spurgeon can agree to a payout shortly thereafter but with an assignment of all the
mortgages held by Summit as collateral. So he's assured he will get paid. Summit's attorney
thinks it might work if all parties agree but he has no authority to agree to anything at this
time.

From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Friday, June 21, 2019 12:42 PM
To: jward@wardandcondrey.com
Subject: RE: Calvin's testimony

Yes.     r guess we are making ditlerent inferences regarding this testimony.

From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Friday, June 21,2019 12:02 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Calvin's testimony


Nick,

Received your reply brief. You did read page ROA 1121 (trans. pg. 197)?

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone: (985) 871-5223
Email: jward@wardandcondrey.com
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 48 of 128 PageID #:
                                           2065
Maria G. Izaguirre

From:                      Nicholas LaRocca
Sent:                      Wednesday, June 26, 20192:39 PM
To:                        Maria G. Izaguirre
SUbject:                   FW: Calvin's testimony




From: Nicholas LaRocca
Sent: Friday, June 21, 2019 12:42 PM
To: jward@wardandcondrey.com
Subject: RE: Calvin's testimony

Yes. I guess we are making different inferences regarding this testimony.

From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Friday, June 21, 2019 12:02 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Calvin's testimony


Nick,

Received your reply brief. You did read page ROA 1121 (trans. pg. 197)7

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone: (985) 871-5223
Email: iward@wardandcondrey.com




                                                             1
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 49 of 128 PageID #:
                                          2066
Maria G. Izaguirre

From:                  Nicholas LaRocca
Sent:                  Wednesday, June 26, 2019239 PM
To:                    Maria G. Izaguirre
Subject:               FW: Calvin's testimony




From: jward@wardandcondrey.com <jwa rd@wardandcondrey .com>
Sent: Friday, June 21,201912 :02 PM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Calvin's testimony


Nick,

Received your reply brief. You did read page ROA 1121 (trans. pg. 197)7

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone: (985) 871-5223
Email: iward@wardandcondrey.com
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 50 of 128 PageID #:
                                          2067
Maria G. Izaguirre

From:                          Nicholas LaRocca
Sent:                          Wednesday, June 26, 2019 2:39 PM
To:                            Maria G. Izaguirre
Subject:                       FW: Spurgeon v. Swift Group




From: Nicholas LaRocca
Sent: Friday, June 21, 2019 7:38 AM
To: jward@wardandcondrey.com
Subject: Re : Spurgeon v. Swift Group

Cannot sign affidavit until I get you the last item. Monday

Sent from my iPhone

On Jun 20,2019, at 10:52 AM, "jward@wardandcondrey .com" <jward@wardandcondrey.com> wrote:




           And to make sure the record is clear, we offered to allow a response by affidavit.

           Joe

           From: Joseph Ward <jrwardjr@gmail.com>
           Sent: Friday, June 14, 2019 1:02 PM
           To: nlarocca@laroccalaw.com
           Cc: Joseph Ward <jward@wardandcondrey.com>; Carol <clanasa@wardandcondrey.com>;
           assista nt@laroccalaw.com
           Subject: Spurgeon v. Swift Group

           Nick,

           See attached Notice of JD Exam by deposition. If all the information is provided prior to the deposition,
           by affidavit signed duly sworn by the defendants, then I will cancel the depo. Otherwise, I expect all
           defendants or their representative to appear.

           Time is of the essence so we will object to any extension.

           Joe

           Joseph R. Ward, Jr.
           Ward & Condrey
           438 S. New Hampshire St.
           Covington, LA 70433
           Telephone: 985-871-5223     iward@wardandcondrey.com
Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 51 of 128 PageID #:
                                     2068

  <I\lotice of Judgment Debtor Exam by Deposition.docx>
  <Untitled attachment 00094.htm>
  <EXHIBIT A.doc>
  <Untitled attachment 00097.htm>




                                                   2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 52 of 128 PageID #:
                                           2069
Maria G. Izaguirre

From:                       Nicholas LaRocca
Sent:                       Wednesday, June 26, 20192:39 PM
To:                         Maria G. Izaguirre
Subject:                    FW: Spurgeon v. Swih Group
Attachments:                Notice of Judgment Debtor Exam by Deposition.docx; Untitled attachment 00094.htm; EXHIBIT A.doc; Untitled
                            attachment 00097.htm




From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Thursday, June 20, 2019 10:35 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: 'Carol LaNasa' <cianasa@wardandcondrey.com>
Subject: FW : Spurgeon v. Swift Group


Nick,

And to make sure the record is clear, we offered to allow a response by affidavit.

Joe

From: Joseph Ward <jrwardjr@gmail.com>
Sent: Friday, June 14, 2019 1:02 PM
To: nlarocca@laroccalaw.com
Cc: Joseph Ward <jward@wardandcondrey.com>; Carol <clanasa@wardandcondrey.com>; assistant@laroccalaw.com
Subject: Spurgeon v. Swift Group

Nick,

See attached Notice of JD Exam by deposition. If all the information is provided prior to the deposition, by affidavit
signed duly sworn by the defendants, then I will cancel the depo. Otherwise, I expect all defendants or their
representative to appear.

Time is of the essence so we will object to any extension.

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire St.
Covington, LA 70433
Telephone : 985-871-5223 jward@wardandcondrey.com
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 53 of 128 PageID #:
                                           2070
Maria G. Izaguirre

From:                        Nicholas LaRocca
Sent:                        Wednesday. June 26. 20192:39 PM
To:                          Maria G. Izaguirre
Subject:                     FW: Confirmation of Scheduling from Professional Shorthand Reporters, Inc. - PLEASE RESPOND




-----Original Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Thursday, June 20, 2019 10:17 AM
To: l'Jicholas LaRocca <nlarocca@laroccalaw .com>
Subject: RE: Confirmation of Scheduling from Professional Shorthand Reporters, Inc. - PLEASE RESPOND

Nick,

I didn't receive any response when I sent the notice last week. They are already in contempt for blowing off the judge's
April order anyway. I was just trying to give them a chance to redeem themselves.

And look, I know it not you. But I just don't think they take this seriously.

Joe

-----Original Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Thursday, June 20, 2019 10:08 AM
To: jward@wardandcondrey.com
Subject: RE: Confirmation of Scheduling from Professional Shorthand Reporters, Inc. - PLEASE RESPOND

This date was not cleared for me or my clients. Shehraze is in Saudi and Jeff is in Egypt.

-----Original Message----­
From : jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Thursday, June 20, 2019 10:06 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: FW: Confirmation of Scheduling from Professional Shorthand Reporters, Inc. - PLEASE RESPOND

Nick,

I am going forward with the scheduled judgment debtor deposition tomorrow.
If no one shows, I will conduct a process verbal.

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone: (985) 871-5223
Email : jward@wardandcondrey.com
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 54 of 128 PageID #:
                                         2071

-----Original Message----­
From: Kim Comeaux <kim@
Sent: Thursday, June 20, 2019 9:47 AM
To: 'Carol LaNasa' <clanasa@wardandcondrey.com>
Cc: 'Joseph Ward' <jrwardjr@gmail.com>; jward@wardandcondrey.com
Subject: RE: Confirmation of Sched    from Professional Shorthand Reporters, Inc.       PLEASE RESPOND

Thank you, i will mark it as being

Kim Comeaux
reporters@psrdocs.com
Professional Shorthand                   Inc.
Ph 504-529-5255




             Message----­
From: Carol LaNasa [mailto:clanasa@warda              rey.com]
Sent: Thursday, June 20, 20199:35 AM
To: 'Kim Comeaux'
Cc: Joseph Ward; jward@wardandcondrey.com
Subject: RE: Confirmation of Schedu  from                   Shorthand Reporters, Inc. - PLEASE RESPOND

Kim:

        Yes, this deposition is                                            at
10:00 a.m. at the Southern Hotel,                                    LA.

         Thank you,

Carol
Ward &            LLC



-----Original Message----­
From: Kim Comeaux [mailto:kim@
Sent: Thursday, June 20, 20198:28 AM
To: jward@wardandcondrey.com; clanasa
Subject: Confirmation of Scheduling from                                        Inc. PLEASE RESPOND



See attachment showing details for your job scheduled on                   in    matter of Dennis R. Spurgeon vs Swift
Group, LLC, et al for 10:00 AM.

Please review and reply to let us know if this   is        forward and also to notify us of any changes.

(The 10:00PM ending time is          a

Thank you,
Professional Shorthand Reporters, Inc.

                                                                 2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 55 of 128 PageID #:
                                           2072
Maria G.lzaguirre

From:                            Nicholas LaRocca
Sent:                            Wednesday, June 26, 2019 2:39 PM
To:                              Maria G. Izaguirre
Subject:                         FW: Confirmation of Scheduling from Professional Shorthand Reporters, Inc. - PLEASE RESPOND




-----Original Message----­
From: Nicholas LaRocca
Sent: Thursday, June 20, 2019 10:08 AM
To: jward@wardandcondrey .com
Subject : RE: Confirmation of Scheduling from Professional Shorthand Reporters, Inc. - PLEASE RESPOND

This date was not cleared for me or my clients. Shehraze is in Saudi and Jeff is in Egypt.

-----Original Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Thursday, June 20, 2019 10:06 AM
To : Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject : FW: Confirmation of Scheduling from Professional Shorthand Reporters, Inc. - PLEASE RESPOND

Nick,

I am going forward with the scheduled judgment debtor deposition tomorrow .
If no one shows, I will conduct a process verbal.

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone : (985) 871-5223
Email : jward@wardandcondrey.com




-----0 rigi na I M essage----­
From : Kim Comeaux <kim@psrdocs.com>
Sent: Thursday, June 20, 20199:47 AM
To: 'Carol LaNasa' <clanasa@wardandcondrey.com>
Cc: 'Joseph Ward' <jrwardjr@gmail.com>; jward@wardandcondrey.com
Subject: RE : Confirmation of Scheduling from Professional Shorthand
Reporters, Inc. - PLEASE RESPOND

Thank you, i will mark it as being confirmed

Kim Comeaux
reporters@psrdocs .com
Professional Shorthand Reporters, Inc.
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 56 of 128 PageID #:
Ph   504-529-5255                         2073



-----Original Message----­
From: Carol LaNasa [mailto:clanasa@wardandcondrey.com]
Sent: Thursday, June 20, 2019 9:35 AM
To: 'Kim Comeaux'
Cc: Joseph Ward; jward@wardandcondrey.com
Subject: RE: Confirmation of Scheduling from Professional Shorthand
Reporters, Inc. - PLEASE RESPOND

Kim:

        Yes, this deposition is going forward tomorrow, June 21, 2019, at
10:00 a.m. at the Southern Hotel, "Josie" Room, in Covington, LA.

        Thank you,

Carol
Ward & Condrey, LLC



-----0 rigi na I M essage----­
From: Kim Comeaux [mailto:kim@psrdocs.com]
Sent: Thursday, June 20, 2019 8:28 AM
To: jward@wardandcondrey.com; clanasa@wardandcondrey.com
Subject: Confirmation of Scheduling from Professional Shorthand Reporters,
Inc. - PLEASE RESPOI\JD



See attachment showing details for your job scheduled on 06/21/2019, in the
matter of Dennis R. Spurgeon vs Swift Group, LLC, et al for 10:00 AM.

Please review and reply to let us know if this job is going forward and also
to notify us of any changes.

{The 10:00PM ending time is just a system default.}

Thank you,
Professional Shorthand Reporters, Inc.
Ph 504-529-5255




                                                             2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 57 of 128 PageID #:
                                           2074
Maria G. Izaguirre

From:                       Nicholas LaRocca
Sent:                       Wednesday, June 26, 2019 2:39 PM
To:                         Maria G. Izag uirre
Subject:                    FW: Con firm ati o n of Scheduling fro m Professional Shorthand Reporters, Inc. - PLEASE RE SPOND




-----Original Message----­
From: jward@wardandcondrey .com <jward@wardandcondrey.com >
Sent : Thursday, June 20, 2019 10:06 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com >
Subject : FW : Confirmation of Scheduling from Professional Shorthand Reporters, Inc. - PLEASE RESPOND

Nick,

I am go ing forward w ith the scheduled judgment debtor deposition tomorrow.
If no one shows, I will conduct a process verbal.

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone : (985) 871-5223
Email : jward@wardandcondrey.com




-----Original Message----­
From : Kim Comeaux <kim@psrdocs.com >
Sent : Thursday, June 20, 2019 9:47 AM
To: 'Carol LaNasa' <clanasa@wardandcondrey .com >
Cc: 'Joseph Ward' <jrwardjr@gmail.com >; jward@wardandcondrey.com
Subject: RE : Confirmation of Scheduling from Professional Shorthand
Reporters, Inc. - PLEASE RESPOND

Thank you, I will mark it as being confirmed

Kim Comeaux
reporters@psrdocs .com
Professional Shorthand Reporters, Inc.
Ph 504-529-5255




-----Original Message----­
From : Carol LaNasa [mailto :clanasa@wardandcondrey.comJ
Sent: Thursday, June 20, 2019 9:35 AM
To : 'Kim Comeaux'
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 58 of 128 PageID #:
Cc: Joseph Ward;                          2075
        RE: Confirmation of Scheduling from Professional Shorthand
Reporters, Inc. PLEASE RESPOND

Kim:

            this           is going forward tomorrow, June               at
10:00 a.m. at the Southern Hotel, "Josie" Room, in Covington, LA.

         Thank you,

Carol
Ward &            LLC




From: Kim Comeaux [mailto:kim@psrdocs.com]
                      20198:28 AM
                              clanasa@warda
                   of           from Professional Shorthand
Inc. PLEASE RESPOND



See attachment           details for your job scheduled on                in the
matter of Dennis R. Spurgeon vs Swift Group, LlC, et al for 10:00 AM.

Please review and reply to let us know if this job is going forward and also
to notify us of any

(The 10:00PM ending time is just a system default.)

Thank you,
Professional Shorthand Reporters, Inc.
Ph 504-529-5255




                                                             2
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 59 of 128 PageID #:
                                          2076
Maria G. Izaguirre

From:                          Nicholas LaRocca
Sent:                          Wednesday, June 26, 2019 2:38 PM
To:                            Maria G. Izaguirre
Subject:                       FW: ICS Contracts
Attachments:                   fbi itsc - to 4.zip; wmata - smartrip.zip




From: Nicholas LaRocca
Sent: Wednesday, June 19, 2019 12:02 PM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: FW: ICS Contracts




From: Khurram Shah <kshah@sunraysint.com>
Sent: Monday, June 17, 2019 10:37 AM
To: Nicholas LaRocca <nlarocca@laroccalaw .com>
Cc: Jeff Leleux <jleleux@swiftships.com>
Subject: ICS Contracts

ICS active contracts.

Kind Regards,

Khurram Shah
President/CEO




Cell: 571-431-9572
Fax : 703-356-1166

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      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 60 of 128 PageID #:
                                           2077
Maria G. Izaguirre

From:                       Nicholas LaRocca
Sent:                       Wednesday, June 26, 2019 2:35 PM
To:                         Maria G. Izaguirre
Subject:                    FW: Spurgeon




-----Original Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Wednesday, June 19, 2019 9:33 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE: Spurgeon

Nick,

Just checked the produced documents and can confirm that I have no bank statements from any defendant for 2019.

I have older statements from M & T Bank for Swiftships llC but only through 3/31/15; Some old FNBC statements with
no company name; Whitney statements for ICS Nett through 12/31/18; PNC Bank statements through 12/31/18 for ICS
Nett; PNC Bank statements for Swiftships llC through 12/31/18.

I don't have any other statements. Certainly no current statements from anyone. I have nothing for the other
defendants, including Shah. I have nothing for the new account that was supposed to be opened at Investar Bank.
The defendants were order to product current bank statements some time ago.
I have been above board with everyone advising that I intend to issue garnishments to these banks. I need the updated
documentation as I don't want to waste a bank's time and money (and mine) garnishing an old account.



Joe

-----Original Message----­
From : Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Wednesday, June 19,20198:39 AM
To: jward@wardandcondrey.com
Cc: 'Jeff leleux' <jleleux@swiftships.com>
Subject: RE: Spurgeon

I am relaying your message to Jeff to get some help in opening the docs.

The landing craft project contract has not been signed .

What bank statements are you missing?

-----Origina I Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Wednesday, June 19, 2019 8:37 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: FW: Spurgeon

Nick,
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 61 of 128 PageID #:
                                           2078
       open any document forwarded that has a "_ at the beginning of   doc name.

Aiso, I think I'm             all       account info on all judgment   And I       receive the   contract
but it may      in     docs that I couldn't open.

Joe



From: Nicholas LaRocca
Sent:                  2019 11:15 AM
To: '(Joe)      Ward Jr.' <jward@wardandcondrey.com>
Subject:

ICS active contracts




                                                               2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 62 of 128 PageID #:
                                             2079
Maria G. Izaguirre

From:                       Nicholas LaRocca
Sent:                       Wednesday, June 26, 2019 2 35 PM
To:                         Maria G. Izaguirre
Subject:                    FW: Spurgeon




-----Original Message----­
From : jward@wardandcondrey.com <jward@wardandcondrey .com >
Sent: Wednesday, June 19, 2019 8:53 AM
To : Nicholas LaRocca <nlarocca@laroccalaw.com >
Subject: RE : Spurgeon

Nick,

17 docs provided can 't be opened .

I have no bank statements for 2019 .

I need the latest bank statement for any bank account owned by any judgement debtor. That should take about 15
minutes.

I expect someone to appear on Friday to testify about the request under oath . I think your clients are playing me, you
and the judge.

Joe

-----Original Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com >
Sent: Wednesday, June 19, 2019 8:39 AM
To : jward@wardandcondrey.com
Cc: 'Jeff leleux' <jleleux@swiftships .com >
Subject : RE : Spurgeon

I am relaying your message to Jeff to get some help in opening the docs.

The landing craft project contract has not been signed .

What bank statements are you missing?

-----Original Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com >
Sent: Wednesday, June 19,20198:37 AM
To : Nicholas LaRocca <nlarocca@laroccalaw.com >
Subject : FW : Spurgeon

Nick,

I can't open any document forwarded that has a '._ at the beginning of the doc name .


                                                               1
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 63 of 128 PageID #:
                                           2080
Also, I think I'm            bank account info on all judgment debtors. And I didn't receive   landing craft contract
                           I         open.

Joe



From: Nicholas LaRocca
Sent: Monday, June      2019 11:15 AM
To: '(Joe) Joseph Ward Jr.'      @wardandcondrey.com>
Subject:

ICS active contracts




                                                         2
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 64 of 128 PageID #:
                                          2081
Maria G. Izaguirre

From:                        Nicholas LaRocca
Sent:                        Wednesday, June 26,20192:35 PM
To:                          Maria G. Izaguirre
Subject:                     FW: Spurgeon




-----Original Message----­
From : Jeff leleux <jleleux@swiftships .com>
Sent: Wednesday, June 19, 2019 8:40 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Re: Spurgeon

I'll have to review the docs when I get to my room on my laptop

Jeff Leleux
President
Swiftships llC
(0) 985-380-2519
(M) 985-519-5529

> On Jun 19,2019, at 3:38 PM, Nicholas LaRocca <nlarocca@laroccalaw.com> wrote:
>
>
>
> -----Origina I Message----­
> From: jward@wardandcondrey .com <jward@wardandcondrey.com>
> Sent: Wednesday, June 19, 2019 8:37 AM
> To: Nicholas LaRocca <nlarocca@laroccalaw.com>
> Subject: FW: Spurgeon
>
> Nick,
>
> I can't open any document forwarded that has a ._ at the beginning of the doc name.
>
> Also, I think I'm still missing all bank account info on all judgment debtors. And I didn't receive the landing craft
contract but it may be in the docs that I couldn't open .
>
>Joe
>
> -----Original Message----­
> From: Nicholas LaRocca <nlarocca@laroccalaw.com>
> Sent: Monday, June 17,2019 11:15 AM
> To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
> Subject: Spurgeon
>
> ICS active contracts
> <winmail.dat>
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 65 of 128 PageID #:
                                         2082




*Think Green Please consider the environment before printing this e-maiL*



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and delete any         from your system.




                                                              2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 66 of 128 PageID #:
                                           2083
Maria G. Izaguirre

From:                        Nicholas LaRocca
Sent:                        Wednesday, June 26, 20192:35 PM
To:                          Maria G. Izaguirre
Subject:                     FW Spurgeon
Attachments:                 .J BI rrsc TO 4_Award Letter pdf; .fFBI-13-179 BPAJBcrrSC T04_Award_123.14 -FE.pdf; ._WO 1 TO 4.pdf; ._WO 10
                             TO 04 03 23 16 -FEpdf; ._WO 11 fe.pdf; ._WO 12R-Expect.pdf;_WO 12R-fe.pdf;_WO 12Rl-fe.pdf;_WO 13 TO 4.pdf;
                             ._WO lAl-fe.pdf;_WO 2 TO 4-fepdf;_WO 3-Rl-fe.pdf; ._WO 4-fe.pdf; ._WO 5.signed.pdf;_WO 6 TO 4 -fe.pdf;_WO
                             7 TO 41 finaLpdf; ._WO 8 TO 4-fe.pdf;_WO 9 TO 4_122915 fe.pdf;_XPECT.FBI rrSCSubK01.06.2014.3JE.pdf




-----Original Message----­
From: Nicholas LaRocca
Sent: Wednesday, June 19, 2019 8:39 AM
To: 'Jeff leleux' <jleleux@swiftships.com>
Subject: FW: Spurgeon




-----Origi na I M essage----­
From: jward@wardandcondrey.com <jward@wardandcondrey .com>
Sent: Wednesday, June 19, 2019 8:37 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: FW: Spurgeon

Nick,

I can't open any document forwarded that has a ._ at the beginning of the doc name.

Also, I think I'm still missing all bank account info on all judgment debtors. And I didn't receive the landing craft contract
but it may be in the docs that I couldn't open .

Joe

-----Original Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 17,2019 11:15 AM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

ICS active contracts
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 67 of 128 PageID #:
                                           2084
Maria G. Izaguirre

From:                        Nicholas LaRocca
Sent:                        Wednesday, June 26, 2019 2:35 PM
To:                          Maria G. Izaguirre
Subject:                     FW: Spurgeon




-----Origina I Message----­
From: Nicholas LaRocca
Sent: Wednesday, June 19, 2019 8:39 AM
To: jward@wardandcondrey.com
Cc: 'Jeff leleux' <jleleux@swiftships.com>
Subject: RE: Spurgeon

I am relaying your message to Jeff to get some help in opening the docs.

The landing craft project contract has not been signed.

What bank statements are you missing?

-----Origina I M essage----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Wednesday, June 19, 2019 8:37 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: FW: Spurgeon

Nick,

I can't open any document forwarded that has a ._ at the beginning of the doc name.

Also, I think I'm still missing all bank account info on all judgment debtors. And I didn't receive the landing craft contract
but it may be in the docs that I couldn't open.

Joe

-----Origi na I M essage----­
From: Nicholas LaRocca <nlarocca@laroccaiaw.com>
Sent: Monday, June 17, 2019 11:15 AM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

ICS active contracts
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 68 of 128 PageID #:
                                           2085
Maria G. Izaguirre

From:                        Nicholas LaRocca
Sent:                        Wednesday, June 26,20192:35 PM
To:                          Maria G. Izaguirre
Subject:                     FW: Spurgeon
Attachments:                 JBI rrsc TO 4_Award Letter.pdf; .fFBI-13-179 BPAJBUTSC T04_Award_123.14 -FE.pdf; ._WO 1 TO 4.pdf;_WO 10
                             TO 04 03 23 16 -FE.pdf; ,_WO n fepdf; ,_WO 12R-Expect.pdf; ,_WO 12R-fe,pdf; ,_WO 12Rl-fe,pdf;_WO 13 TO 4,pdf;
                             _WO lAl-fe,pdf; ,_WO 2 TO 4-fe,pdf; ,_WO 3-Rl-fe.pdf;_WO 4-fe,pdf;_WO 5,signed,pdf; ,_WO 6 TO 4 -fe,pdf;_WO
                             7 TO 41 finaLpdf:_WO 8 TO 4-fepdf; ,_WO 9 TO 4_122915 fe.pdf: ._XPECT.FBI rrSCSubK,0106.2014.3JE.pdf




-----Original Message----­
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Wednesday, June 19, 2019 8:37 AM
To: Nicholas LaRocca <niarocca@laroccalaw.com>
Subject: FW: Spurgeon




I can't open any document forwarded that has a ._ at the beginning of the doc name.

Also, I think I'm still missing all bank account info on all judgment debtors. And I didn't receive the landing craft contract
but it may be in the docs that I couldn;t open.

Joe

-----Original Message----­
From: Nichoias LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 17, 201911:15 AM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

ICS active contracts
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 69 of 128 PageID #:
                                             2086
Maria G. Izaguirre

From:                      Nicholas LaRocca
Sent:                      Wednesday, June 26, 20192 :35 PM
To:                        Maria G. Izaguirre
Subject:                   FW: Spurgeon




-----Original Message----­
From : jward@wardandcondrey.com <jward@wardandcondrey .com >
Sent: Tuesday, June 18, 2019 11:49 AM
To: Nichoias LaRocca <nlarocca@laroccalaw.com>
Subject: RE : Spurgeon

Can't open this attachment either.

Looks like any attachment that has a _ underline at the beginning can't be opened.

-----Original Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com >
Sent: Monday, June 17, 201911:16 AM
To: '(Joe) Joseph Ward Jr. ' <jward@wardandcondrey.com >
Subject: Spurgeon

More ICS contracts
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 70 of 128 PageID #:
                                             2087
Maria G. Izaguirre

From:                      Nicholas LaRocca
Sent:                      Wednesday, June 26, 20192 :34 PM
To:                        Maria G. Izaguirre
Subject:                   FW: Spurgeon




-----Original Message----­
From : jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Tuesday, June 18, 2019 11:46 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE: Spurgeon

Nick, for some reason I can't open these attachments.

-----Original Message----­
From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent: Monday, June 17,201911:15 AM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

ICS active contracts
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 71 of 128 PageID #:
                                           2088
Maria G. Izaguirre

From:                    Nicholas LaRocca
Sent:                    Wednesday, June 26, 2019 2:34 PM
To:                      Maria G. Izaguirre
Subject:                 FW: Spurgeon
Attachments:             ATI30095._Modifications; ._Notice of Award - Acceptance -3-14-14.pdf; ATI07900._POs




From: Nicholas LaRocca
Sent: Monday, June 17, 2019 11:16 AM
To: '(Joe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

More ICS contracts




                                                               1
     Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 72 of 128 PageID #:
                                          2089
Maria G. Izaguirre

From:                    Nichoias LaRocca
Sent:                    Wednesday, June 26, 2019 2:34 PM
To:                      Maria G. Izaguirre
Subject:                 FW: Spurgeon
Attachments:             .JBI ITSC TO 4_Award Letter.pdf; ._J-FBI-13-179 BPAJBI_ITSC T04_Award_1.23.14 -FE.pdf; ._WO 1 TO 4.pdf;_WO 10
                         TO 04 03 2316 -FE.pdf; ._WO 11. fe.pdf; ._WO 12R- Expect.pdf; ._WO 12R-fe.pdf; ._WO 12R1-fe.pdf; ._WO 13 TO 4.pdf;
                         ._WO 1Al-fe.pdf;_WO 2 TO 4-fe.pdf; ._WO 3-Rl -fe.pdf; ._WO 4-fe.pdf; ._WO 5.signed.pdf; ._WO 6 TO 4 -fe.pdf; ._WO
                         7 TO 4 1 final.pdf; ._WO 8 TO 4-fe.pdf; ._WO 9 TO 4_122915 fe .pdf; ._XPECT.FBI ITSC.SubK.01.06.2014.3JE.pdf




From: Nicholas LaRocca
Sent: Monday, June 17, 2019 11:15 AM
To: 'poe) Joseph Ward Jr.' <jward@wardandcondrey.com>
Subject: Spurgeon

res active contracts
   Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 73 of 128 PageID #:
                                        2090

Nicholas LaRocca

From:                   Nicholas LaRocca
Sent:                   Monday, June 17, 2019 10:46 AM
To:                     '(Joe) Joseph Ward Jr.'
                        Spurgeon - Swifts hips, LLC active contracts
Attachments:            Contract - Egypt 28M Kit FMS (FE).pdf; P00001 Attachment )-1 28m CPC Production Kit
                        List dated 30 June 2017.pdf;                                   P00002_N00024-16­
                        C-2233_Swiftships, LLC_Egypt 28M Kit
                        Acceptance.pdf; A00001 CAGE Code
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 74 of 128 PageID #:
                                           2091

Nicholas LaRocca

From:                                                   Joseph Ward <jrwardjr@gmaiLcom>
Sent:                                                   Friday, June     2019 1:02 PM
To:                                                     Nicholas LaRocca
Cc:                                                     Joseph                Maria G.
                                                                   v. Swift Group
Attachments:                                            Notice of Judgment Debtor Exam by Deposition.docx; EXHIBIT A.doc



Nick,

See attached Notice of JD Exam by                                          If all the information is provided prior to the deposition, by affidavit
       duly sworn by the                                        then I will cancel the depo. Otherwise, I            all            or their
               to appear.

Time is of the essence so we will object to any extension.

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire St.
Covington, LA 70433
            985 -8 71-5 2 23 .L:..:...:=-='-"""-=c:...=:::.:..:.:::.:::.:::::...:..:.:::.:....:::.L:...::='-'-'­
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 75 of 128 PageID #:
                                           2092

Nicholas LaRocca

From:                                 Nicholas LaRocca
Sent:                                                20198:19 AM
To:
Subject:                                                                       et al
Attachments:                                                            ,pdf; ATTOOOO1.htm;                            17360,pdf;
                                      A TT00002,htm




Sent from my iPhone

                   message:

        From: "Khurram Shah"
        To: "Nicholas laRocca"                                        "Jeff leleux"
        Subject: Re: Spurgeon v. Swift Group lCC, et al

        CURRENT - PNC Bank Statements for both ICS and Swift accounts.
        What else?

        Kind Regards,

        Khurram Shah




        Cell' 571-431-9572
        Fax: 703-356-1166

        This e-mail and any file(s) attached to it may contain confidential and/or                               mlended
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        warrant that this communication is free                viruses or other defects and does not accept liability for any loss
          rl",,',,",<>,w caused this email. If you have received this message in error,        notify the sender immediately by
                email message and delete all          and attachment




        From: N
         Date:




         Sent from my iPhone

                 forwarded message:
Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 76 of 128 PageID #:
                                     2093
        From:

        To: Nicholas LaRocca
        Subject: FW: Spurgeon v. Swift Group LCC, et al


        Nick,

        Its      a week and no word. Please provide the req
        docu        or I will have no alternative but seek a co          m    order
        against the defendants.

        Joe


        From: '--"='-'-=~~~=~'-'=-'-=C!.!
        Sent: Thursday, June 6, 2019 3:19 PM
        To: ~~~~==~~~



        Nick,

        P se provide the current bank                      for all judgment
        creditors asap. That should be an                 for your cl
                  current contra   we

              nks.

        Joe

        J     h   Ward,Jr.
        Ward & Condrey
            S. New Ham     re
        Covington, LA 70433
          Ie phone: (985)
        Email:




                                                    2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 77 of 128 PageID #:
                                           2094

    .rnon ......   LaRocca

From:                              jward@wardandcondrey.com
Sent:                               Friday, June 14,20196:27 AM
To:                                'Iawdml_hanna orders'
Cc:                                'Carol LaNasa'; Nicholas LaRocca
                                               v. Swift Group, LLC, et al11-01807
Attachments:                       MOTION TO IMPOSE SANCTIONS (Motion).pdf; MOTIO[\I TO IMPOSE SANCTIONS
                                                  MOnOI\] TO IMPOSE SANCTIONS (Order).pdf; MOTION TO IMPOSE
                                   SANCTIONS (Motion}.doc; MOTION TO IMPOSE SANCTIONS (Memo).doc; MOTION TO
                                   IMPOSE SANCTIONS (Order).doc



        rJ           Hanna,

                       se find a copy of our Motion for Sanctio        morandum in Sup         and
                        r in PDF and Wo format.

J      h R. Ward, Jr.
Wa           ndrey
438 S. New Hampshire
Covi       n, LA 70433
  Ie phone: (985) 871-52
     il: jward@wardandcond                com




                                                         1
       Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 78 of 128 PageID #:
                                            2095

Nicholas LaRocca

From:                                  Khurram Shah                          >
Sent:                                  Thursday, June 13, 2019 5:35 PM
To:                                    Nicholas          Jeff Leleux
Subject:                               Re: Spurgeon v. Swift Group     et al
Attachments:                           SKMBT_C36019061317350[1].pdf; SKMBT_C36019061317360.pdf



CURRENT - PNC Bank Statements for both ICS and Swift accounts.
What     ?

Kind

Khurram Shah




Cell: 571-431-9572
Fax: 703-356-1166

This e-mail and any file(s) attached to it may contain confidential and/or privileged information and is intended exclusively for the
designated               Any other use of this e-mail is                        does not represent or warrant that this communication IS
free of computer viruses or other defects and does not           liability for any loss or        call sed   this email If YOll have received
this message in error,          notify the sender             by reply email message and delete all            and attachment




From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Date:          ay, June 12,      at 3:35 PM
To: Khurram Shah <kshah@sunraysint.com>, Jeff Leleux <jleleux@swiftships.com>
Subject: Fwd: Spurgeon v. Swift Group lCC, et al




Sent from my ,Phone

        forwarded message:

         From:
         Date: June 12, 2019 at 1:37:52 PM COT
         To: Nicholas LaRocca
         Subject: FW: Spurgeon v. Swift Group lCC, et al

          Nick,

          Its been a week and no word. Please provide the requested docume    or I will
          have no alternative but       a contempt order     inst    defen nts.
Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 79 of 128 PageID #:
                                     2096
 Joe




  Nick,

  P se provide     current   nk             for all judgment cred rs asap.
  should be an        for your cI     Also, I need the current contracts we
  d

  Thanks.

  Joe

  Joseph R. Ward, Jr.
  Ward Condrey
  438 S. New Hampshire Street
  Covi     n, LA 70433
  Telephone:      } 871-5
  Email:  ~~~~~~~~~~~~




                                        2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 80 of 128 PageID #:
                                             2097

Nicholas LaRocca

From:                             Nicholas LaRocca
Sent:                             Wednesday, June      20192:35 PM
To:                               Khurram Shah; Jeff Leleux
                                  Fwd:           v. Swift          et al




Sent from my iPhone

        forwarded message:

         From:

         To: Nicholas LaRocca
         Subject: FW: Spurgeon v. Swift Group lCC, et al

         N

         Its         n a week and no word. Please provide                    uested docume    or I will
                    no alternative but to   a co   mpt               r       inst    d     nts.




          N


          Please provide the current bank                       for all j            creditors asap. Th
          should    an      get for your cI         nts. Also, I            the cu     contracts we
          discu

                n


          Joe

          J    h R. Ward, Jr.
          Ward Cond
          438 S. New Hampshire Street
          Covington,    70433

                                                            1
Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 81 of 128 PageID #:
                                     2098
 Telephone: (985) 871-5223
 Email : jward@wardandcondrey.com




                                        2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 82 of 128 PageID #:
                                             2099

Nicholas LaRocca

From:                               Nicholas LaRocca
Sent:                               Wednesday, June 12, 2019 2:35 PM
To:                                 Khurram Shah; Jeff Leleu x
Subject:                            Fwd: Spurgeon v. Swift Group lee, et al




Sent from my iPhone

Begin forwarded message:

         From: <jward@wardandcondrey .com>
         Date: June 6, 2019 at 3:18:46 PM eDT
         To: '''nlarocca laroccalaw.com'" <nlarocca@laroccalaw.com>
           Subject: Spurgeon v. Swift Group lCC, et al

           Nick,

           Please provide the current bank statements for all judgment creditors asap. That
           should be an easy get for your clients. Also, I need the current contracts we
           discussed.

           Thanks.

           Joe

           Joseph R. Ward, Jr.
           Ward & Condrey
           438 S. New Hampshire Street
           Covington, LA 70433
           Telephone: (985) 871-5223
           Email: jward@wardandcondrey.com




                                                               1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 83 of 128 PageID #:
                                             2100

Nicholas LaRocca

From:                         jward@wardandcondrey.com
Sent:                         Wednesday, June       2019 1:38 PM
To:                            Nicholas LaRocca
Subject:                       FW: Spurgeon v. Swift            et al



Nick,

Its        n a week and no word. Please provide               requested docume   or I will have no
alternative but      seek a contempt order           in         defenda nts.


Joe


From: jward@warda                   <jward@wardandcondrey.com>
Sent: Thursday, June 6, 2019 3:19 PM
To:



Nick,

Please provide the cu            nk statements for all ju   nt creditors asap.             should be an
easy get for your cI         Also, I need the curre contracts we discussed.


Thanks.

Joe

           R. Wa    Jr.
   rd & Condrey
438 S. New Hampshire
Covington, LA 70433
Telephone: (985) 87
    il:




                                                          1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 84 of 128 PageID #:
                                             2101

Nicholas LaRocca

From:
Sent:
To:
Subject:                      Spurgeon v. Swift        et al



Nick,

          provide      current bank        me        all judgment     itors asap. That should   an
        get for your clients. Also, I need the current contracts we d

Thanks.




Joseph R. Ward, Jr.
Ward & Condrey
       New Ham      Ire
    ngton, LA 70433
   ephone:      )
Email: jwa @wardandcondrey.com·




                                                   1
       Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 85 of 128 PageID #:
                                            2102

Nicholas LaRocca

From:                            jward@wardandcondrey.com
Sent:                            Thursday, June 06, 2019 3:15 PM
To:                               'Sue Nations'; Nicholas LaRocca
Cc:                               'Carol LaNasa'
Subject:                          RE: Spurgeon v. Swift Group -- ll-cv-01807



Sue,

We are available on July 10, 22 or 24. Dennis will attend assuming his wife's medical condition
has stabilized. Presently, he must stay with her. He can attend by phone on June 27 and 28
and I am available to be present on these two dates as well.

Thanks.

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone: (985) 871-5223
Email: jward@wardandcondrey.com




From: Sue l'Jations <Sue_Nations@lawd.uscourts.gov>
Sent: Thursday, June 6, 20199:40 AM
To: nlaroccaJaroccalaw.com <nlarocca@laroccalaw .com>; jward@wardandcondrey.com
Subject: RE : Spurgeon v. Swift Group --1l-cv-01807

The following dates are available on Judge Hanna's calendar: June 27, 28 and July 8,9, 10, 22,24, and 25 . Please let me
know if these dates work for you .

Thanks,

Sue

 Sue Nations
 Law Clerk to Magistrate Judge Patrick J. Hanna
 United States District Court for the
 Western District of Louisiana
 337-593-5140
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 86 of 128 PageID #:
                                           2103
From: Nicholas LaRocca
Sent: Wednesday, June OS, 20195:11 PM
To: Sue Nations
         RE: Spurgeon v. Swift

         attcncli ng     with my             Jeffrey P.       Khurram    10;00    lock
me.

From: Sue Nations
Sent: Wednesday, June 05,20194:41 PM
To:                              Nicholas LaRocca
Subject: Spurgeon v. Swift Group ll-cv-01807


Ge


  nce both of you have             a willingness         Judge Hanna preside over a settlement
conference in this matter}        let me know who will be        nding the              with you
and     approximate time      me that you would like       us   set the          nce. I will then
reply with Judge Hanna)s availa            . We generally      a settle      conference       10:00
a.m. and mark off       whole day     you. Once we d de on a mutually agreeable               Judge
   nna will      an order formally        ng the conference.         note that J      Hanna is
schedu           in trial   week of June




Sue

    Nations
Law Clerk to M           Ju     Patrick J. Hanna
United        District Court for
      rn District of        na
             140




                                                          2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 87 of 128 PageID #:
                                           2104

Nicholas LaRocca

From:                            jward@wardandcondrey.com
Sent:                             Thursday, June 06, 2019 3:06 PM
To:                               ssinclair@liskow.com
Cc:                               'Carol LaNasa'; Nicholas LaRocca
Subject:                          FW: Activity in Case 6:11-cv-0l807-TAD-PJH Spurgeon v. Swift Group L L C et al Status
                                  Conference



Spencer,

See minute entry from Magistrate Hanna. We would like to have Summit attend if they are
interested. We are selecting dates now and it appears it will be held in late June or early July.

We did not agree to any forbearance pending the mediation.

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone: (985) 871-5223
Email: jward@wardandcondrey.com




From: Reply@lawd.uscourts.gov <Reply@lawd .uscourts.gov>
Sent: Thursday, June 6, 2019 11 :05 AM
To: Clerk@lawd.uscourts.gov
Subject: Activity in Case 6:11-cv-01807-TAD-PJH Spurgeon v. Swift Group L L C et al Status Conference



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because the mail box is unattended.
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parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
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free copy and 30 page limit do not apply.

                                                    U.S. District Court


                                               Western District of louisiana
         Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 88 of 128 PageID #:
                                              2105
Notice of Electronic Filing

The following transaction was entered on 6/6/2019 at 11:05 AM COT and filed on 6/5/2019
Case Name:           Spurgeon v. Swift Group L L C et al
Case Number:         6:11-cv-01807-TAD-PJ H
Filer:
WARNING: CASE ClOSED on 01/08/2019
Document Number: 217


Docket Text:
MINUTES for proceedings held before Magistrate Judge Patrick J Hanna: TELEPHONE
STATUS CONFERENCE held on 6/5/2019. The purpose of the conference was to evaluate the
production of documents since the parties' last conference. Counsel also advised that
settlement negotiations will recommence shortly. This Court suggested that Summit be
encouraged to participate if a settlement conference with this Court is held. Signed by
Magistrate Judge Patrick J Hanna on 6/5/2019. (crt,Alexander, E)


6:11-cv-01807-TAD-PJH Notice has been electronically mailed to:

Nicholas F Larocca, Jr   nlarocca@laroccalaw.com

Joseph R Ward, Jr    jward@wardandcondrev.com, clanasa@wardandcondrev.com

6:1l-cv-01807-TAD-P.lH Notice will not be electronically mailed to:

The following document(s) are associated with this transaction:


 Document description:Main Document
 Original filename:n/a
 Electronic document Stamp:
 [STAMP dcecfStamp_ID=1045083339 [Date=6/6/2019] [FileNumber=4932560-0]
 [ge79035538dOdeOdca3353b45616d3505abOeb25e8c13412e386fIfea380f2257230
 da4ad 2d938ce bb 7f5153 7 c4d23 bcf86128ble085 63 767 ca 72d95 68da 69 62] 1




                                                            2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 89 of 128 PageID #:
                                           2106

Nicholas LaRocca

From:                             jward@wardandcondrey.com
Sent:                             Wednesday, June 05, 2019 3:02 PM
To:                                'Patrick Hanna'; 'Hallie Coreil'; Nicholas LaRocca; 'Iawdml..hanna orders'
SUbject:                           RE Spurgeon



Judge Hanna,

My client, Dennis Spurgeon, agrees to attend mediation. He asked me to note that he is
monitoring a medical condition of his wife and it may be necessary for him to be with her in
the next week or so until the condition clears.

Thank you.

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone: (985) 871-5223
Email: jward@wardandcondrey.com




From: Patrick Hanna <Patrick_Hanna@lawd.uscourts.gov>
Sent: Wednesday, June 5, 2019 10:49 AM
To: Hallie Coreil <Hallie_Coreil@lawd.uscourts.gov>; nlaroccaJaroccalaw.com <nlarocca@laroccalaw,com>;
lawdml_hanna orders <hanna_orders@lawd.uscourts.gov>
Cc: 'jward@wardandcondrey.com' <jward@wardandcondrey.com>
Subject: RE: Spurgeon

I got it Hallie - it's Spurgeon v. Swift that we had the conference calion this morning


From: Hallie Coreil
Sent: Wednesday, June 5, 2019 10:32 AM
To: nlaroccaJaroccalaw.com <nlarocca@laroccalaw.com>; lawdml_hanna orders <hanna orders@lawd.uscourts,gov>
Cc: 'jward@wardandcondrey,com' <iward@wardandcondrey,com>
Subject: RE: Spurgeon

Mr. LaRocca,

Can you please provide a case number?
         Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 90 of 128 PageID #:
                                              2107
Thanks,

Hallie


Hallie P.
Law Clerk to             Judge Patrick 1. Hanna
United States         Court for the
Western District of Louisiana
337-593-5141

From: Nicholas LaRocca
                  June 5, 2019 10:28 AM



Subject: Spurgeon

Dear Judge

       I have                                                   that you    it
negotiation in

Very truly

Nick LaRocca




                                                  2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 91 of 128 PageID #:
                                             2108

Nicholas LaRocca

From:                              Nicholas LaRocca
Sent:                              Tuesday, June 04, 2019 2:56 PM
To:                                Khurram Shah (kshah@sunraysint.com); 'Jeff leleux'

Attachments:                       Original Brief on behalf of Appellants.r.pdf



Dear Khurram        Jeff:

               see the an:aCflea                 filed on          behalf in the        Circuit Court of Appeals




                                                               1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 92 of 128 PageID #:
                                             2109

Nicholas LaRocca

From:                                  Nicholas LaRocca
Sent:                                           June    2019 11:36 AM
To:                                    Khurram Shah
Subject:                               RE: JD Exam Documents



           - no problems

From: Khurram Shah <kshah@sunraysint.com>
Sent:          June 04, 2019 10:56 AM
To: Nicholas LaRocca
         Re: JD Exam Documents

Nick,
I've told you that we don't have infinite resources to                 these documents.              you should inform the counsel
that we are doing our best.

Kind

Khurram Shah




Cell. 571-431-9572
Fax: 703-356-1166

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            recipient(s), Any other use of this e-mail is                      does not            or warrant that this communication is
free of computer viruses or other defects and does not                    for any loss or         caused by this email. If you have received
this message in error,          notify the sender ITnf'Clpn,,,, by reply email message and delete all copies and attachment




From: N
Date:              June
To: Khurram Shah
            RE: JD Exam Documents




From: Khurram Shah
Sent:           June 04, 2019 10:39 AM
To: Nicholas LaRocca                                        'Jeff leleux'
         Re: JO Exam Documents

We won't be able to                these until next week

Khurram Shah
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 93 of 128 PageID #:
                                           2110
Cell: +1 5714319572




From: Nicholas LaRocca <nlarocca@laroccalaw .com>
Sent: Tuesday, June 4, 2019 10:52 AM
To: Khurram Shah; 'Jeff leleux'
Subject: FW: JD Exam Documents




From: jward @wardandcondrey.com <jward@wardandcondrey.com>
Sent: Tuesday, June 04, 2019 9:22 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: JD Exam Documents


l\Jick,

I don't seem to have the more recent contracts we asked for. Also, a nd most importa ntly, I
need the current (2019) bank statements from all judgment debtors .

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire Street
Covington, LA 70433
Telephone: (985) 871-5223
Email: jward@wardandcondrey.com




                                                    2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 94 of 128 PageID #:
                                             2111

Nicholas LaRocca

From:                                 Khurram Shah < kshah@sunraysint.com >
Sent:                                 Tuesday, June 04, 2019 10:56 AM
To:                                   Nicholas LaRocca
Subject:                              Re: JD Exam Documents



Nick,
I've told you that we don't have infinite resources to produce these documents. Hence, you should inform the counsel
that we are doing our best.

Kind Regards,

Khurram Shah
President/CEO




Cell: 571-431-9572
Fax: 703-356-1166

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From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Date: Tuesday, June 4,2019 at 11:39 AM
To: Khurram Shah <kshah@sunraysint.com>
Subject: RE: JD Exam Documents

ok

From: Khurram Shah <kshah@sunraysint.com>
Sent: Tuesday, June 04,201910:39 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>; 'Jeff leleux' <jleleux@swiftships.com>
Subject: Re: JD Exam Documents

We won't be able to produce these until next week

Khurram Shah
Cell: +1 5714319572




 From: Nicholas LaRocca <nlarocca@laroccalaw .com>
Sent: Tuesday, June 4, 2019 10:52 AM
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 95 of 128 PageID #:
                                             2112
To: Khurram       'Jeff leleux'
        FW: JD Exam Documents




Fro m: ~'-'--==-:':~:=':";'=:':":='--'=-L== 'L:~~-=-='-.::::::'-'-=""-'-'-=~==-:'
Sent: Tuesday, June 04, 20199:22 AM
To: Nicholas LaRocca
Subject: JD Exam Documents


Nick,

I don't seem to have                 more recent co      we as     for. Also, a     impo   ntly, I
need the cu      (20                 bank           from all judgment debtors.

Joe

Joseph    Wa  Jr.
Ward & Cond
438 New Hampshire
Covington, LA
  Ie phone:
Email:




                                                                        2
       Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 96 of 128 PageID #:
                                            2113
Nicholas LaRocca

From:                                             LaRocca
Sent:                                             June 04, 2019 10:39 AM
To:                                      Khurram Shah
Subject:                                 RE: JD Exam Documents



ok

From: Khurram Shah
Sent:           June 04, 2019 10:39 AM
To: Nicholas LaRocca <nla         laroccalaw.com>; 'Jeff leleux'
         Re: JD Exam Documents

We won't be able to                         until next week

Khurram Shah
Cell: +15714319572




From: Nicholas LaRocca
Sent: Tuesday, June 4, 2019 10:52 AM
To: Khurram Shah; 'Jeff leleux'
Subject: FW: JD Exam Documents




Fro m: ,-=-,,,-,-="---'--=-===-,-=~~:...z..==
Sent:

Subject: JD Exam Documents




Id         seem          have          more            co        we as     for. AI   and most impo   ntly, I
         the cu           (20              nk        ments     m all judgment debtors.

Joe

Joseph R. Ward, Jr.
Wa       Cond
438   !'Jew Ham
Covington, LA 70433
Tel             ) 87


                                                                  1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 97 of 128 PageID #:
                                             2114

Nicholas LaRocca

From:                           Khurram Shah < kshah@sunraysint.com>
Sent:                                    June 04, 2019 10:39 AM
To:                             Nicholas aRI1(Ta' 'Jeff Leleux'
                                Re: JD Exam Documents



We won't be able to produce these until next week

Khurram Shah
Cell: +1 571 431 9572




From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent:          June 4, 2019 10:52 AM
To: Khurram Shah;       leleux'
Subject: FW: JD Exam Documents




From:                              <jward@wardandcondrey.com>
Sent:          June 04, 2019 9:22 AM
To: Nicholas LaRocca
        JD Exam Documents

Nick,

        n't seem to have      more                     we asked            and most im   ntly, I
          the current (20   ) bank           ents    m all judgment de   rs.




Joseph    Wa   Jr.
Ward &     nd
    S. New Hampshire
    ngton, LA 70433
Telephone: (985)
    iI: jward@wardandcondrey.com
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 98 of 128 PageID #:
                                             2115

Nicholas

From:                          Nicholas LaRocca
Sent:                                   June    2019 9:53 AM
To:                            Khurram Shah (kshah@sunraysintcom); 'Jeff leleux'
Subject:                       FW: JD Exam Documents




From: jward@wardandcondrey.com
Sent: Tuesday, June 04, 20199:22 AM
To: Nicholas LaRocca
        JD Exam Documents


Nick,

I don't seem to have the more recent co    cts we asked for.                       and   im   ntly, I
      the current         nk            from all judgme




Joseph R. Ward, Jr.
Ward & Condrey
    S. New Hampshire
    ngton, LA 70433
  lephone: (985)
Email:




                                                         1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 99 of 128 PageID #:
                                             2116

Nicholas LaRocca

From:                       Nicholas LaRocca
Sent:                       Monday, June 03, 20194:39 PM
To:

Attachments:                FY2014_ res Nett_ M&T-1682.pdf;                        res   Netc
                                                  res


        are             banking




                                                     1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 100 of 128 PageID #:
                                              2117

Nicholas LaRocca

From:                           Nicholas LaRocca
Sent:                           Monday, June     20194:37 PM
To:                             'jward@wardandcondrey.com'

Attachments:                    2014 FNBC Swiftships LLC - Account #110083428 - Operating.pdf; 2014 - FNBC
                                Swiftships LLC Account #110083439 - Payroll.pdf; 2015 - FNBC Swiftships LLC -
                                Account #110083428 Operating.pdf; 2015 - FNBC Swiftships LLC - Account #
                                110083428 - Operating. pdf



Here are the       bank docs.




                                                         1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 101 of 128 PageID #:
                                              2118

Nicholas LaRocca

From:                       Nicholas LaRocca
Sent:                       Monday, June 03, 20194:32 PM
To:                              Joseph Ward Jr:
Subject:                    Spurgeon
Attachments:                Shehraze Personal tax Return -2014.pdf: Shehraze Personal tax Return



Income tax records for
       Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 102 of 128 PageID #:
                                             2119

Nicholas LaRocca

From:                                      Nicholas LaRocca
Sent:                                      Friday, May    2019 3:04 PM
To:                                                Ward
Subject:                                   Re: Contracts



Okay

Sent from my iPhone

On May           2019, at 2:19 PM, Joseph Ward                                           wrote:

           Nick,

         The contracts you provided to day are old contracts. I need the current contracts including any landing
         craft contracts,

           Joe

           Joseph R. Ward, Jr.
           Ward & Condrey
           438 S. New Hampshire St,
            "''''''''T1""n LA 70433

                        985-871-5 223 .L..:..:-=.:....:"-'--~"'--"..=.;,..;~~~;;;-L.;;.~-'-'.




                                                                                1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 103 of 128 PageID #:
                                              2120

Nicholas LaRocca

From:                                     Joseph Ward <jrwardjr@gmai1.com>
Sent:                                            May    2019 2:19 PM
To:                                       Nicholas         Maria G.
Subject:                                  Contracts



Nick,

The contracts you provided to day are old contracts. I need the current contracts including any landing craft contracts.

Joe

Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire 5t.
Covington, LA 70433
Telephone : 985-871-5223 .l...:.!.-~:::"=~,,,-,-,==":"~=-,-=":"..:;;;..L-,-=~
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 104 of 128 PageID #:
                                              2121

Nicholas LaRocca

From:                                Joseph Ward <jrwardjr@gmail.com>
Sent:                                Friday, May 31, 20199:47 AM
To:                                  Nicholas LaRocca
Subject:                             Re: Spurgeon



Thanks Nick. Please send future docs to my office email addressjward@wardandcondrey.com.

Thanks.

Joseph R. Ward , Jr.
Ward & Condrey
438 S. New Hampshire St.
Covington, LA 70433
Telephone: 985-871-5223 jward@wardandcondrey.com

On May 31, 2019, at 9:39 AM, Nicholas LaRocca <nlarocca@laroccalaw.com> wrote:

           .T oe: Here are all corporate docs supporting ownership of the various companies.
           <Corporate Docs_Swiftships Group, Inc..pdf>
           <Corporate Docs_Swiftships Shipbuilders, L.L.c..pdf>
           <Articles of Incorporation_ICS Nett, Inc..pdf>
           <Corporate Docs_Swift Group, LLC.pdf>




                                                                  1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 105 of 128 PageID #:
                                              2122

Nicholas LaRocca

From:                                             Nicholas LaRocca
Sent:                                             Friday, May    20199:16 AM
To:                                                       Ward
Subject:                                          RE: Spurgeon



           tllem to you as faSl as I can

From: Joseph Ward <jrwardjr@gmail.com>
Sent: Friday, May    20199:15 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: Re: Spurgeon

Thanks Nick.

         need the bank statements as I intend to commence

       R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire St.
Covington, LA 70433
              985 -871-5223 L:-'-=-"'::~":";:"::=--::':-=-':-='::":"':'='-'''-'--'-=-=''';'':'':'

On May 31,              at 9:12 AM, Nicholas LaRocca                                                wrote:

           Joe:      is a list assets of the late Calvin Leleux which was only                               lam
           attempting to secure a list personal assets from           and win


           <Sworn                                       List of




                                                                                               1
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 106 of 128 PageID #:
                                          2123

Nicholas LaRocca

From:                                                  Joseph Ward
Sent:                                                  Friday, May 31,20199:15 AM
To:                                                    Nicholas LaRocca
                                                       Re:



Thanks Nick.

I really need the bank statements as I intend to commence

        R. Ward, Jr.
Ward &
438 S. New                        St.
Covington, LA 70433
            985 -871-5 2 2 3 .L:-=-:=.:...;;;::..:-.....::..:.-=:..:..::::;.=.:..:.~=-'-'-~::..r...::..=-=-'-'-

On May                  at 9:12 AM, Nicholas LaRocca                                                              wrote:

                   is a       assets the late Calvin                                                                       I am
         attempting to secure a list personal assets



         <Sworn Detailed                                      List of




                                                                                                             1
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 107 of 128 PageID #:
                                            2124

Nicholas LaRocca

From:                            jward@wardandcondrey,com
Sent:                             Thursday, May 30,20192:02 PM
To:                               Nicholas LaRocca
Subject:                          JD Exam Document Production



Nick,

The            ment              in     was not        ched      your earlier email.

To         no. 1, I have only received the redacted                      dit recently prepa       no other prior
financial            have been provided. And the audit                      n't include any        owned by
Shah or C.  Leux.

To request no. 2, I have only received tax returns for             Shah and only          fi    2 pages
returns.

To Request no.          I have           only bank                 for Swiftships         - no other debtor.

To              no. 4, I have only            the      Nett      lance          and the        E Audit recently
pre     red.

To request no.          I have received nothing,

To requ    no. I have         no documentation      blishi  ownership of a                             . I do
have documentation form discovery showing ownership of Swiftshi Group, Inc.
And I assume t judgement debtors own additional

To request no.          I don't have the documents         nting any I  or mo                  I do have the
forbearance               ment with Summit that I            documents.

To req          no. 1    I have no documents or response.

To request no.           as indicated above,                       nt was n      attached to your ea rlier
email.

Joe

    ph R. Ward, Jr.
 Ward & Condrey
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 108 of 128 PageID #:
                                          2125
438 New Hampshire Street
Covington, LA 70433
  lephone: (985) 871-5223
    il: jward@wardandcondrey.com




                                            2
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 109 of 128 PageID #:
                                            2126

Nicholas LaRocca

From:                                        jward@wardandcondrey.com
Sent:                                                   May 30, 2019 11:12 AM
To:                                           Nicholas LaRocca
                                              RE:          v. Swift           et a1



        r is d               ing with Summit. Will get back to me.                                           him I would be filing a suit
for a dec. a                to void their I n position.

       your cl                   decided not to produce anythi                              further on        JD     m document
request?



From: Nicholas LaRocca
Sent: Thursday, May      2019 11:07 AM
To: jward@wardandcondrey.com
Subject: RE: Spurgeon v. Swift       LLC, et al

Thank                   you                                        your                of           anything belli

From: ~:'=':~~='-'==:':"'=C:"""c:..:..: ·l.,c:.==~"-=:':":::::.:::'~:.~'':''':::J..C:::='-'-'
Sent: Thursday, May

Cc: 'Carol LaNasa' '=~=<-="-"-"'~="-""'-'.::=...L'~:":":
Subject: Spurgeon v. Swift


Nick,

Attached            ease find a copy of Appel                            Brief which we                  filed.




Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire
Covi       LA 70433
Telephone: (985) 87
Email:




                                                                                   1
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 110 of 128 PageID #:
                                            2127

Nicholas LaRocca

From:                          Nicholas LaRocca
Sent:                         Thursday, May 30, 2019 11:07 AM
To:                           jward@wardandcondrey.com
Subject:                       RE:          v. Swift Group. LLC, et al



Thank you. Are you any closer to evaluating your            of             Sumitt?

From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Thursday, May      20199:40 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: 'Carol LaNasa' <c1anasa@wardandcondrey.com>
Subject: Spurgeon v. Swift Group. LLC, et al


N

Attached please find a copy        Appellee's Brief which we have filed.

Joe

Joseph R. Ward, Jr.
Ward & Cond
438   New Hampshire
Covington, LA
Telephone: (985)
Email: jward@wardandcondrey.com
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 111 of 128 PageID #:
                                              2128

Nicholas LaRocca

From:                       jward@wardandcondrey.com
Sent:                       Thursday, May 30,2019 9AO AM
To:                          Nicholas LaRocca
Cc:                          'Carol LaNasa'
Subject:                               v. Swift         et al
Attachments:                 Appelle Brief-as filed.pdf




                   find a copy of Appellee's B       wh         we have filed.

Joe

Joseph R, Ward, Jr.
Ward & Condrey
438 New Ham hire Street
Covington, LA
    phone: (985) 871-5223
Email: jward@wardandcond               m
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 112 of 128 PageID #:
                                              2129

Nicholas LaRocca

From:                            Nicholas LaRocca
Sent:                           Wednesday, May    20191:51 PM
To:                             jward@wardandcondrey.com
Subject:                        RE:




        Orleans. Louisiana
From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Wednesday, May   2019 12:53 PM
To: Nicholas LaRocca
Subject:


Nick,

Could you provide            name of the attorney               ng Summit again. I misplaced it.

        nks.




Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire
Covington, LA 70433
Telephone: (985) 871-5223
Email:     ~~~~~==~~~.~~.
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 113 of 128 PageID #:
                                            2130

Nicholas LaRocca

From:
Sent:
To:
Subject:                   Spurgeon



Nick,

Could you provide the name of         attorney representi   Summit   In.   I mispl

Thanks.

Joe

Joseph R. Ward, Jr.
Wa & Condrey
438 S. New Hampshire
Covington, LA 70433
Telephone: (985)
Email: jward@wardandcondrey.com




                                                  1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 114 of 128 PageID #:
                                              2131

Nicholas LaRocca

From:                          Nicholas LaRocca
Sent:                                      May     2019 12:55 PM
To:                            jward@wardandcondrey.com
Subject:                        RE: Status Conference          JD Exam
Attachments:                   06.062018 Forbearance Agreement          EcecutedLLAR.pdf; SSE          of Companies
                                Combined Financial Statements as of Dec 31 2018



Joe:        are some other documents   response lo the order, the financial statements   or all the      ness and a
                            Summit

From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent:           May     2019 11:33 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: 'Carol LaNasa' <clanasa@wardandcondrey.com>
Subject: Status Conference regarding JD Exam


Nick,

In p    ration for our status co          tomorrow, I        a copy of the produ   n                           r
with my        in    ind         what I have received. Note th 90% of e        uested
docume      have not been

       1. I have no fina                      any d
       2. I      income tax returns only from                        only the 1040 without any supporting
          schedules. No returns for a other
       3. Only bank statem      from Swiftshi                      7/1/16 to 12/29/18. None from any
            her debtor.
          Income statement and balance sheet from ICS N               for        only. None           r any
                r.
       S. No res       to request no. 5 from any debtor.
       6. No                  uest no. 6 from any
       7. No           to req      no. 7 from any debtor.
       8. No response to request no. 8 from any debtor.
       9. No response to      uest no. 9 from any d
       10. No response to     uest no. 10 from any debtor.
       11.No response     request no. 11 from any debtor.
       12.No response     req      no.     from any debtor.

Joe
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 115 of 128 PageID #:
                                          2132
Joseph R. Ward, Jr.
Ward Condrey
    S. New Hampshire
Covington, LA 70433
    phone:
Email:~~~ .. ~~~~--~~~




                                            2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 116 of 128 PageID #:
                                              2133

Nicholas LaRocca

From:                           Nicholas LaRocca
Sent:                           Tuesday, May       2019 12:13 PM
To:                             'Jeff Leleux'; Khurram Shah (kshah@sunraysint.com)
Subject:                        FW: Status Conference            JD Exam
Attachments:                    Order on JD Exam



            and Khurram:

                                                    me what other documents we
the                                                   order               lists
                                          that docnment. it I essential that it
                      you may    (will be) found in contempt           court                             to be in
           and fraudulent.

                                                                                   the    is too
        me vour                                        counsel before tornoorows conference 'vvith

From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent:        May 14, 2019 11:33 AM

Cc: 'Carol laNasa'
Subject: Status Conference regarding JD Exam




In prepa      for our        conference             morrow, I attach a           of the produ        on order
with my notes in red indicating what I              received. Note th          90% of the req
documents have not       np

      1.        no financial          nts from any debtor.
      2.        income tax returns only from Shehraze and only        1040 without any su      ng
                     No      rns for any      r debtor
      3.                 me      from Swiftshi    LlC from 7/1/16 to 12/29/18. None       any
         other debtor.
      4. Income        ment and ba nce 5         from ICS N   for 20   only. None     any other
         debtor.
      5. No response to            no. 5       any debtor.
          No              request no. 6 from any debtor.
      7.                      uest no. 7 from any        r.
      8. No res                    no. 8 from any debtor.
      9. No response      request no. 9 from any     btor.
      10. No response              no.     from any debtor.
       Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 117 of 128 PageID #:
                                               2134
      1 No response to         no. 11 from any debtor.
         No response to        no.    from any debtor.

Joe



Joseph R. Ward, Jr.
Ward Cond
     S. New Hampshire
Covi      n, LA 70433
Telephone: (985) 87        3
Email:   ~==~~~~~~~~~




                                               2
  Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 118 of 128 PageID #:
                                        2135

Nicholas LaRocca

From:                       jward@wardandcondrey.com
Sent:                       Tuesday, May 14, 2019 11:33 AM
To:                          Nicholas LaRocca
Cc:                          'Carol LaNasa'
Subject:                    Status Conference regarding JD Exam
Attachments:                Order on JD Exam



Nick,

In preparation for our       conference tomorrow, I attach a copy of the production order
with my notes in red indicating what I have       . Note that 90% of the requested
documents have not       n produced.

      1. I have no financial statements from any debtor.
         I have income tax returns only      m Shehraze and only the 1040 without any supporting
         schedu . No             for any other debtor
      3. Only bank statements from Swiftships LLC from 7/1/16 to 12/29/18. None from any
         other debtor.
      4. Income statement and        lance      from      Nett for 20 only. None for any other
          debtor.
      5. No response to request no. 5 from any debtor.
      6. No response to request no. 6 from any debtor.
      7. No response to request no. 7 from any debtor.
      8. No            to request no. 8 from any debtor.
      9. No            to          no. 9 from any debtor.
          No response     request no. 10 from any debtor.
      11. No response to           no. 11 from any debtor.
          No response to request no. 12 from any debtor.

Joe



Joseph R. Ward, Jr.
Ward & Condrey
    S. New Hampshire
Covington,    70433
Telephone: (985) 87
Email: jward@wardandcondrey.com


                                                     1
      Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 119 of 128 PageID #:
                                            2136

Nicholas       Rocca

From:
Sent:
To:                            Nicholas LaRocca
Subject:                       RE:             v. Swiftships



Got it. Thanks.




                                     rd fn""~ "rl



Joe: Many         documents you               are in drop box   folder name
rule. I have       the files with
   Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 120 of 128 PageID #:
                                         2137

Nicholas LaRocca

From:                        Nicholas LaRocca
Sent:                        Monday, April 22, 2019 9:44 AM
To:                          'jward@wardandcondrey.com'
Subject:                     Spurgeon v. Swiftships



Joe: Many of the documents you            are   drop box under the   name Swiftships   jd
rule. I have      the files    you.
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 121 of 128 PageID #:
                                              2138

Nicholas LaRocca

From:                       jward@wardandcondrey.com
Sent:                        Tuesday, April 09, 2019 12:11 PM
To:                          Nicholas LaRocca
Cc:                          'Carol LaNasa'
                             Spurgeon
Attachments:                 PROPOSED ORDER (JD Exam).pdf



Nick,

I filed the wro    proposed order. Here's the right one.

      h R. Ward, Jr.
Ward & Cond
438 S. New Hampshire Street
Covi      n, LA
Telephone: (985)
Email: jward@wa      ndcondrey.com
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 122 of 128 PageID #:
                                          2139

Nicholas LaRocca

From:
Sent:
To:                                 Nicholas LaRocca
Subject:                            RE: Order on JD Exam



Ok, !'II make that change but would                uest you send what you can asap, I'd like to            rt
reviewi    some              I                        I . Thanks.

From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent:          April 9, 2019 11:16 AM
To:
Subject: RE: Order on JD Exam

                     to          for      cause                 to

Surnm      counsel is Spencer S                             s

From: -'-"'-'==--'=='-'-==-'-'~:..L:-'=
Sent:
To: Nicholas LaRocca
Subject: RE: Order on JD Exam


Ok.      time             me do you suggest? We have a status conference on May       . I'll be out of
town from April            thru May 10. Would like to review as much as I can before the co      renee.

Also, can you             me the na me of            mmit            rney?


From: Nicholas LaRocca '~,"-===:...:c==~:...:.=~'
              April 9, 2019 10:28 AM

Subject: RE: Order on JD Exam

                                                                                  IloWCVCL      court  i
                                                 heming -          order statcs that compliance is due \ 0 days
                order. I think we both agree that that is not a realistic     frame.

From:~=~==,-,-==-,-,~~= .~~,~. ~~==~~~~~~=~
Sent:

Cc: 'Carol LaNasa'
Subject: Order on JD Exam

 Nick,
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 123 of 128 PageID #:
                                               2140
             M       for Entry        rand       r which I plan file.  ind      whether
you have an objection or no objection so I can note it in the m n.

Than




Joseph R. Wa  Jr.
Ward & Cond
    S. New Hampshire
Covington, LA
Telephone: (
Email: ~~~.=':""=:"::'==":"':":::.:....:::...J~::::':"'::"':




                                                               2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 124 of 128 PageID #:
                                              2141

Nicholas LaRocca

From:                             Nicholas LaRocca
Sent:                                           09, 2019 11:16 AM
To:
Subject:                          RE: Order on JD Exam



30                 to                     cause demonstrated 10

SU1l1mi     counsel is Spenccr Sinclair, at           an r.cwis


From: jward@wardandcondrey.com <jward@wardandcondrey.com>
Sent: Tuesday, April 09, 2019 10:49 AM
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Subject: RE: Order on JD Exam


Ok. What time frame do you suggest? We         a        conference on May 15. I'll                          out of
town from April 25 thru May 10. Would like to review as much as I can before the co

Also, can you give me the name of the Summit attorney?


From: Nicholas LaRocca
Sent: Tuesday, April 9, 2019 10:28 AM
TO:L=~~~~~~~~~~~
Subject: RE: Order on JD Exam

        I do not object to               subject matter. or documcnt                        : the court·         that
      order should be                       of the             - your order states that   iance is due J () days
following the                                  that tl18t is not a realistic


From:~==~.~==~~~~~ ~~=~~.~=~~~~~~
Sent: Tuesday, April 09, 2019 10:01 AM

Cc: 'Carol LaNasa'
Subject: Order on JD Exam


Nick,

    attached Motion for Entry of Order and Order which I plan to fi                          se indicate whether
you have an objection or no objection so I can note it in the motion.

Thanks.


Joe


                                                              1
    Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 125 of 128 PageID #:
                                          2142
Joseph R. Ward, Jr.
Ward & Condrey
438 S. New Hampshire
Covington, LA 70433
   ephone: (985) 87   223
Email:~~~~~~~~~~~




                                            2
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 126 of 128 PageID #:
                                              2143

Nicholas LaRocca

From:
Sent:                                                        April 09, 2019 10:49 AM
To:                                                 Nicholas LaRocca
Subject:                                            RE: Order on JD Exam



Ok. Wh time                        me do you s                        We have a          conference on May    . I'll           out
town from April                     thru May                     Would like to review as much as I can    re the                renee.

Also, can you give me the name of the Summit attorney?


From: Nicholas LaRocca <nlarocca@laroccalaw.com>
Sent:          April 9, 2019 10:28 AM
To: jward@wardandcondrey.com
Subject: RE: Order on 10 Exam

                not object to the priorities, subject matteI',               Of   document             However      court     ca
               should            f1Ied               10            of                        states that     lance is due j 0
                      order. I                                                               time frame.

From:~~~~~~~~~~L'~=~~~~~~~~~"~
Sent: Tuesday, April
To: Nicholas LaRocca ·'-'-'-"~==~:.::::~___ .o==-:"=":":'
Cc: 'Carol LaNasa'
Subject: Order on 10 Exam




                             M      on for Entry of rder and Order which I plan      file. Please indi                        wh    er
you have an              0            n or no objection so I can note it in the motion.

Thanks.

Joe

Joseph   Ward, Jr.
Ward & Condrey
  8 S. New Hampshire
Covington, LA      3
   ephone: (985) 871-5223
 Email: J.'::'::"~~....~~:':::':";':::::"::::'=':":'::':':"":::...L:='-'-'


                                                                                   1
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 127 of 128 PageID #:
                                              2144

Nicholas LaRocca

From:                                  Nicholas LaRocca
Sent:                                           April 09, 2019 10:28 AM
To:                                    'jward@wardandcondrey.com'
SUbject:                               RE: Order on JD Exam



        I do nol object   10   the           subjeclmatter. or                                    , lhe c;ourt i icaled that
the                 be           within 10 clays of       bearing           order Slates that          is due 10
follo'lNing the          . I                          that that i not a realistic time

From:
Sent:
To: Nicholas LaRocca <nlarocca@laroccalaw.com>
Cc: 'Carol LaNasa' <clanasa@wardandcondrey.com>
         Order on JD Exam


Nick,

             Motion for Entry                   Order and Order which I plan     fi             Please ind        whether
you have an objection or no                         so I can note it in the motion.

Thanks.

Joe

Joseph R. Ward, Jr.
Ward       ndrey
    S. New Hampshire
Covington, LA 70433
          : (985) 871-5223
        Case 6:11-cv-01807-TAD-PJH Document 224-1 Filed 06/28/19 Page 128 of 128 PageID #:
                                              2145

Nicholas LaRocca

From:                       jward@wardandcondrey,com
Sent:                                 April 09,201910:01 AM
To:                          Nicholas LaRocca
Cc:                          'Carol LaNasa'
Subject:                     Order on JD Exam
Attachments:                 MOTION       Exam),doc; PROPOSED ORDER   Exam),doc




    attached Motion for     ry  Order and 0      r which I pia n to fi            ind   whether
you have an objection or no objection so I can note it in the motion.

      an

Joe

Joseph R. Ward, Jr.
Ward &     nd

Covington, LA
Telephone: (985)
    d: jward@wardandcondrey.com
